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     1   XINGFEI LUO                                                           10/15/2023

     2   PO BOX 4886,                                                              DVE




     3   El Monte, CA 91734
     4

     5   Petitioner in Pro Se
     6

     7

     8                             UNITED STATES DISTRICT COURT
     9                           CENTRAL DISTRICT OF CALIFORNIA
    10

    11   XINGFEI LUO,                                   No. 8:22-CV-01640-MEMF-KES
    12                      Petitioner,
    13          v.                                      REQUEST FOR DISCOVERY AND
    14   THE PEOPLE OF THE STATE OF                     THIRD MOTION FOR
         CALIFORNIA                                     APPOINTMENT OF COUNSEL
    15

    16                      Respondent.

    17

    18

    19
                TO THE COURT AND TO RESPONDENT AND ITS COUNSEL OF RECORD:
    20
                Xingfei Luo (Petitioner) respectfully submits the following request for discovery
    21
         and third motion for appointment of counsel:
    22
                     I.   PROCEDURAL HISTORY
    23
                On September 6, 2022 Petitioner moved for appointment of counsel (ECF 7) while
    24
         filing her Petition for Writ of Habeas Corpus (ECF 1).
    25
                On December 20, 2022 the Court denied Petitioner’s initial motion for court
    26
         appointed counsel without prejudice. ECF 18.
    27
                Petitioner filed a renewed motion for counsel on April 13, 2023. ECF 22. On April
    28
                                                     1
                 REQUEST FOR DISCOVERY AND THIRD MOTION FOR APPOINTMENT OF COUNSEL
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     1   19, 2023 the Court denied Petitioner’s renewed motion citing the interests of justice would
     2   not require appointing counsel at the time. ECF 24.
     3           II.   FACTUAL BACKGROUND
     4          After marrying a woman (Hanh Le) who is ten years older than him, Tomas
     5   Czodor (Czodor), concealed his marriage and tried to meet young women online. ECF 4,
     6   pp. 97-98. Before knowing Petitioner’s name and meeting Petitioner in person, in August
     7   2018, Czodor proudly told Petitioner that he was raised as a nudist. Right after meeting
     8   Petitioner just once, while Petitioner still did not tell him her name, Czodor unsolicitedly
     9   sent Petitioner his nude photos and invited Petition to a nudist ranch. ECF 6, p. 153. After
    10   two gatherings, Czodor ghosted Petitioner. Petitioner, unaware of Czodor’s marriage,
    11   went to Czodor’s residence for answer on September 18, 2018. ECF 6, p. 155.
    12          On September 26, 2018, eight days after Petitioner left Czodor’s residence, Czodor
    13   reported the alleged vandalism and distribution of his nude photos. ECF 6, pp. 177-178.
    14   Despite during the entire time on September 18, 2023 when Petitioner was in front of
    15   Czodor’s residence, Czodor had free access to his phone, making 911 call (ECF 6, p. 201),
    16   taking photos and shooting videos (ECF 6, pp. 159-163), no photos or videos show that
    17   Petitioner was actually scratching Czodor’s door, no photos or videos of Petitioner with
    18   Czodor’s damaged door were provided, no photos or videos show that Petitioner was
    19   standing next to Czodor’s damaged door, despite Petitioner allegedly scratched Czodor’s
    20   door for 20 minutes.
    21          On September 10, 2018, after Petitioner allegedly threatened Czodor to distribute
    22   his nude photos, Czodor in fact made contact with the police but made no mention of
    23   Petitioner or any nude photos. ECF 6, p. 200. Despite all communication between
    24   Petitioner and Czodor was made through text messages, not a single message shows that
    25   Petitioner asked for Czodor’s nude photos, not a single message shows that Czodor
    26   requested Petitioner to keep his nude photos private, not a single message shows that
    27   Petitioner made any promise to keep his nude photos private before Czodor unsolicitedly
    28   sent Petitioner his nude photos. Nevertheless, Czodor – a married man deliberately
                                                       2
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     1   concealing his marriage – sent his nude photos to Petitioner, a woman who never told him
     2   her name and met him just once, a woman who was not better than a stranger.
     3           No officers ever saw Czodor’s damaged door or nude photos online. No officers
     4   ever took any photos of the damaged property. No officers ever checked or examined
     5   Czodor’s phone to see whether Czodor provided accurate and all relevant messages,
     6   photos and videos. No officers ever checked or examined Czodor’s phone to see whether
     7   Czodor sent his nude photos to multiple people. No officers ever verified whether
     8   Czodor’s story was taken out of context. No officers ever interviewed any of Czodor’s
     9   friends, customers, or wife. No officers ever indeed went out and collect evidence. No
    10   officers ever performed any meaningful investigation. Anything coming out from
    11   Czodor’s mouth was taken as true at face value. All “evidence” was in fact produced and
    12   provided by Czodor himself, in the form of a stack of paper, despite modern technology
    13   was readily available in 2018 and 2019 to the police. In effect, Czodor played the dual
    14   roles both as a police officer and complaining witness.
    15           Six attorneys from the office of public defender cycled through Petitioner’s case,
    16   none of them did any investigation, none of them ever explained to Petitioner about her
    17   constitutional rights, none of them ever tried to bring the case to trial at a meaningful time
    18   and in a meaningful manner, none of them ever meaningfully discussed the case or
    19   strategy with Petitioner, none of them asked for Petitioner’s consent or authority to sign a
    20   stipulation with prosecution, none of them was able to expose Czodor’s perjury and fraud,
    21   none of them ever tried to attack the integrity of police work. Petitioner was astonished at
    22   trial by her trial counsel’s performance. Naturally, Petitioner was convicted of all counts
    23   she was charged.
    24           After Petitioner’s conviction, Czodor demanded $51,000 to remove 25 webpages
    25   that don’t even exist or aren’t viewable. ECF 20, pp. 15-16. Despite each year between
    26   2014 and 2019, Czodor (a self-employed individual) reported to IRS that his net profit1
    27   1
          An employee ordinarily agrees to work for, and receives, a set wage or salary. His wages are not directly affected
         by the net income of the employer. In contrast, the self-employed person operating a "business" has no more income
    28   available than the net income of the "business" after paying necessary expenses of the "business." For instance, a
                                                                  3
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     1   was ranging only between $5,000 and $10,000 per year (ECF 6. pp. 141, 143, 145, 147,
     2   149, 151), he concealed his net profit information2 when requesting restitution and
     3   demanded $26,4963 to compensate his income loss in 2018 and 2019, apparently for the
     4   purposes to make a windfall. Based on Czodor’s net profit each year, he was in fact as
     5   poor as a church mouse. However, this church mouse was capable of staging crimes and
     6   manipulating the system to grant him a windfall.
     7            In 2023 the prosecution, based on the exact same old evidence, prosecuted
     8   Petitioner once again alleging Petitioner failed to remove Czodor’s nude photos posted in
     9   2018, Case No.: 23CM00067. CF 1-138.4 After the acquittal, Petitioner filed two requests
    10   for transcripts but the trial court denied her second request. CF 139-144. After the trial
    11   court denied her request for records of Case No.: 23CM00067 on July 24, 2023, Petitioner
    12   immediately requested the case files from her court appointed counsel. However,
    13   Petitioner’s counsel was unable to provide the case files until August 27, 2023 because
    14   she was out of the country. Subsequently, Petitioner has been diligently compiling
    15   exhibits, conducting legal research, and readying a new habeas petition under her
    16   mistaken belief that she could not present new evidence in the instant case. While she was
    17   preparing a new habeas petition to state court Petitioner came across cases involving
    18

    19   person who sold $10,000 worth of merchandise with a wholesale cost of $5,000 and who had out-of-pocket
         business-related expenses of $2,000 would only have $3,000 in actual available earnings. If the income loss was
    20   based on gross revenue of $5,000 rather than net earnings of $3,000, the person would be awarded a windfall of
         $2,000 he would not have received if he had worked. Damage awards in injury to business cases are based on net
    21   profits. (See, e.g., Kuffel v. Seaside Oil Co. (1970) 11 Cal.App.3d 354, 366 [90 Cal.Rptr. 209] ["It is fundamental that
         in awarding damages for the loss of profits, net profits, not gross profits, are the proper measure of recovery"].) "Net
    22   profits are the gains made from sales `after deducting the value of the labor, materials, rents, and all expenses,
         together with the interest of the capital employed.' [Citation.]"' [Citations.]" (See Kids' Universe v. In2Labs (2002) 95
    23   Cal.App.4th 870, 884 [116 Cal.Rptr.2d 158] (Kids' Universe). "Lost anticipated profits cannot be recovered if it is
         uncertain whether any profit would have been derived at all from the proposed undertaking. But lost prospective net
         profits may be recovered if the evidence shows, with reasonable certainty, both their occurrence and extent.
    24
         [Citation.] It is enough to demonstrate a reasonable probability that profits would have been earned except for the
         defendant's conduct. [Citations.]' Moreover, . . . a plaintiff is `not required to establish the amount of its damages with
    25   absolute precision. . . . [Citation.]' [Citations.]" (Kids' Universe, supra, 95 Cal.App.4th at 1181 pp. 883-884.) Not
         only Czodor did not establish income loss, he did not establish any certainty of his income.
    26   2
           Petitioner’s court appointed counsel discovered Czodor’s net profit by subpoenaing California Franchise Tax
         Board.
    27   3
           This requested amount of income loss is almost equal to Czodor’s combined net profit in four years between 2015
         and 2018.
    28   4
           The case file of Case No.: 23CM00067 is referred to as CF, as attached as Exhibit 2.
                                                                     4
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     1   expanding record in federal habeas cases. Luo Decl., ¶ 2.
     2          III.      GROUNDS FOR DISCOVERY AND APPOINTMENT OF COUNSEL
     3          A. Petitioner Is Entitled to Introduce New Evidence and Expand Record under
     4                 Rule 7 of the Rules Governing Section 2254 Cases
     5          In Holland v. Jackson, 542 U.S. 649 (2004), the United States Supreme Court held
     6   that, whether or not a federal habeas petitioner seeks an evidentiary hearing, new evidence
     7   may only be considered in a federal habeas corpus proceeding when the failure to develop
     8   the facts in state court are not the petitioner's fault, or when the requirements of 28 U.S.C.
     9   § 2254(e)(2) are satisfied. Holland, 124 S.Ct. at 2738 (citing Williams v. Taylor, 529 U.S.
    10   420, 431-437 (2000)). In Cooper-Smith, the United States Court of Appeals for the Ninth
    11   Circuit held that it is proper to require a petitioner to make the showing required by §
    12   2254(e)(2) when seeking to expand the record pursuant to Rule 7, 28 U.S.C. foll. § 2254.
    13   Cooper-Smith, 397 F.3d at 1241.
    14          "[N]ew factual allegations do not render a claim unexhausted unless they
    15   "fundamentally alter the legal claim already considered by the state courts." Chacon v.
    16   Wood, 36 F.3d 1459, 1468 (9th Cir. 1994) (quoting Vasquez v. Hillery, 474 U.S. 254, 260,
    17   106 S.Ct. 617, 88 L.Ed.2d 598 (1986))." Belmontes v. Brown, 414 1094, 1117 (9th Cir.
    18   2005). The presented facts, actions of defense counsel, and trial court’s decisions during
    19   the 2023 prosecution do not "fundamentally alter" petitioner's ineffective assistance of
    20   counsel claim, unlawful amendment of complaint one day before trial, erroneous jury
    21   instruction claim, and actual innocence claim, therefore admission of the 2023 prosecution
    22   transcripts will not render those claims unexhausted.
    23          In Williams, the United States Supreme Court held in relevant part that "[i]f there
    24   has been no lack of diligence at the relevant stages of the state court proceedings, the
    25   prisoner has not `failed to develop' the facts under § 2254(e)(2)'s opening clause, and he
    26   will be excused from showing compliance with the balance of the subsection's
    27   requirements." Williams, 529 U.S. at 437.
    28          The claims that could be supported by the 2023 prosecution have been presented to
                                                       5
                 REQUEST FOR DISCOVERY AND THIRD MOTION FOR APPOINTMENT OF COUNSEL
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     1   California Supreme Court. Petitioner did not, therefore, show a lack of diligence in the
     2   state court proceedings and is not required to make a showing under § 2254(e)(2). Even if
     3   so required, Petitioner could not have been previously discovered through the exercise of
     4   due diligence, and the facts underlying the claim would be sufficient to establish by clear
     5   and convincing evidence that but for constitutional error, no reasonable fact finder would
     6   have found the applicant guilty of the underlying offense.
     7          The 2023 prosecution effectively amounted to a retrial after a motion for a new
     8   trial. However, the crucial distinction here is that the "motion for a new trial" was initiated
     9   by the prosecution, not the defense.
    10          In a surprising turn of events, Petitioner was acquitted.
    11          Petitioner's subsequent acquittal of the same offense based on same evidence raises
    12   a profound question concerning the constitutionality of her prior conviction: How can a
    13   defendant be acquitted for the same offense, based on identical evidence, after having
    14   been previously convicted?
    15          Petitioner’s acquittal in 2023 serves as a potent testament to the inherent problems
    16   and constitutional violations in her initial conviction in 2021. There is no confidence in
    17   the integrity of Petitioner’s 2021 conviction.
    18          After the acquittal, Petitioner filed two requests for records but the trial court
    19   denied her second request. CF 139-144. Petitioner did not show any lack of diligence.
    20          B. Discovery is Essential and Requires Appointment of Counsel
    21          Habeas is an important safeguard whose goal is to correct real and obvious wrongs.
    22   Unlike ordinary civil actions, discovery in habeas corpus requires good cause. Bracy v.
    23   Gramley, 520 U.S. 899, 904, 117 S.Ct. 1793, 1797 (1997). A party seeking discovery
    24   should demonstrate specific facts indicating that the sought discovery may well advance
    25   the party's cause. "Advancing the cause" means that the discovery must advance the
    26   requestor's knowledge on the issues pertinent to cognizable habeas corpus issues. Good
    27   cause is shown "where specific allegations before the court show reason to believe that the
    28   petitioner may, if the facts are fully developed, be able to demonstrate that he is . . .
                                                          6
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     1   entitled to relief." Bracy, 520 U.S. at 908-09 (citing Harris v. Nelson, 394 U.S. 287
     2   (1969)). "[A] district court abuse[s] its discretion in not ordering Rule 6(a) discovery
     3   when discovery [i]s 'essential' for the habeas petitioner to 'develop fully' his underlying
     4   claim." Smith v. Mahoney, 611 F.3d 978, 997 (9th Cir. 2010) (alterations in original)
     5   (internal quotation marks omitted) (quoting Pham v. Terhune, 400 F.3d 740, 743 (9th Cir.
     6   2005)).
     7

     8                                   Case No. 19CM06724               Case No. 23CM00067
     9   Prosecuting agency        Orange County District            Orange County District
    10                             Attorney (ECF 3 at 79-80)         Attorney (CF 30-31)
    11   Allegations on            Intentionally, knowingly, and     Willfully and unlawfully
    12   complaint                 unlawfully violated a             disobeyed the terms of a court
    13                             protective order by failing to    order by failing to remove any
    14                             deactivate website and created pictures or references of the
    15                             new websites (ECF 3 at 79-        protected party from any social
    16                             80)                               media websites or blogs she
    17                                                               may have posted (CF 30-31)
    18   Underlying domestic       Case No. 18V002374 filed in       Case No. 18V002374 filed in
    19   violence restraining      Orange County Superior            Orange County Superior Court
    20   order case number         Court (ECF 3 at 82-84)            (CF 30-31)
    21   Terms of the court        Remove content on the             Remove any pictures or
    22   order alleged being       Internet relating to video,       references of the protected
    23   violated                  pictures, blogs, or websites      party from any social media
    24                             about Tomas Czodor created        websites or blogs she may have
    25                             by Ms. Luo. (ECF 4 at 120)        posted (CF 30-31, 35)
    26   Domestic violence         Tomas Czodor (ECF 4 at 28)        Tomas Czodor (CF 13)
    27   accuser
    28
                                                       7
                    REQUEST FOR DISCOVERY AND THIRD MOTION FOR APPOINTMENT OF COUNSEL
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     1
         Prosecution evidence      Online contents posted in         Online contents posted in 2018
     2
                                   2018 (ECF 4 at 39-50)             (CF 39, 82-94)
     3
                Essentially, Case No. 23CM00067 constitutes a new trial of the same matters
     4
         addressed in Case No. 19CM06724. The actions of defense counsel at trial in 2023, as
     5
         well as the decisions made by the trial court in 2023, both reflected by clerk’s transcript
     6
         and reporter’s transcript of the 2023 prosecution, serve as pivotal evidence of how
     7
         Petitioner's constitutional rights were seriously infringed upon in Case 19CM06724.
     8
                The discovery of the clerk's transcript and reporter's transcript of Case No.
     9
         23CM00067 is of paramount constitutional importance in the adjudication of the habeas
    10
         corpus petition pertaining to Case No. 19CM06724. The pursuit of justice and the
    11
         preservation of constitutional protections demand a thorough examination of these
    12
         transcripts, as they may hold the key to rectifying any past injustices and ensuring the fair
    13
         and equitable treatment of Petitioner. The transcripts of case no. 23CM00067 are
    14
         "essential" for Petitioner to "develop fully" her claims.
    15
                Whenever the United States magistrate judge or the court determines that the
    16
         interests of justice so require, representation may be provided for any financially eligible
    17
         person who is seeking relief under section 2241, 2254, or 2255 of title 28. 18 U.S.C. §
    18
         3006A(a)(2)(B).
    19
                The interests of justice require the appointment of counsel if an evidentiary hearing
    20
         on the habeas petition is needed, or if a party may conduct discovery and the appointment
    21
         of counsel is “necessary for effective discovery.” Rules Governing Section 2254 and 2255
    22
         Cases, Rules 8(c) and 6(a).
    23
                After Petitioner’s acquittal, Case No. 23CM00067 is currently placed under seal
    24
         upon the request of DOJ. See https://www.occourts.org/online-services/case-
    25
         access/criminal-traffic-cases (No case no. 23CM00067 is available for public access.) No
    26
         trial transcript of case no. 23CM00067 can be ordered. See
    27
         https://www.occourts.org/online-services/court-reporter-transcript-requests
    28
                                                       8
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     1          The effective retrieval of transcripts of a sealed case (whether to use subpoena),
     2   understanding their legal significance, and using them to support Petitioner's claims
     3   demand a high level of legal expertise. An appointed counsel is best equipped to navigate
     4   these complexities, ensuring that Petitioner's rights are diligently protected.
     5          IV.    CONCLUSION
     6          In a gross manner, Petitioner’s constitutional rights were violated from the very
     7   beginning to the end. Petitioner was be put on trial without the aid of counsel in any real
     8   sense, and convicted upon incompetent evidence, or evidence irrelevant to the issue or
     9   otherwise inadmissible.
    10          For the reasons stated above, Petitioner has shown good cause and the court should
    11   permit expanding record and discovery of the clerk’s transcript and reporter’s transcript of
    12   Case No. 23CM00067. The interests of justice require this court to appoint competent
    13   counsel for Petitioner.
    14

    15          Dated: October 15, 2023
    16          Respectfully submitted.
    17

    18                                                             /s/ XINGFEI LUO
    19                                                             XINGFEI LUO
    20                                                             Petitioner in Pro Se
    21

    22

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                                                       9
                 REQUEST FOR DISCOVERY AND THIRD MOTION FOR APPOINTMENT OF COUNSEL
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  1                             DECLARATION OF XINGFEI LUO
  2          I, XINGFEI LUO, declare and state:
  3     1. I am the petitioner in this petition. I have personal knowledge of all facts stated
  4   herein. If called as a witness, I could and would competently testify thereto.
  5     2. After the trial court denied my request for records of Case No. 23CM00067 on
  6   July 24, 2023 I immediately requested the case files from my court appointed counsel.
  7   However, my counsel was unable to provide the case files until August 27, 2023 because
  8   she was out of the country. A true and correct copy of the correspondence is attached
  9   hereto as Exhibit 1. A true and correct copy of the 23CM00067 case file is attached hereto
 10   as Exhibit 2. Subsequently, I have been diligently compiling exhibits, conducting legal
 11   research, and readying a new state habeas petition under my own mistaken belief that I
 12   could not expand the record in the instant federal habeas case without first presenting the
 13   evidence to state court. While I was preparing a new habeas petition to state court I came
 14   across cases involving expanding record in federal habeas cases.
 15     3. I am currently receiving food stamps. I have no financial means to obtain clerk’s
 16   transcript and reporter’s transcript of Case No.: 23CM00067 that may cost hundreds of
 17   dollars or even more.
 18      4. The pro se clinic does not provide assistance in criminal matters. It offers no legal
 19   advice or evaluation of case merits, and it does not offer support with legal strategy. Its
 20   assistance is confined to explaining court forms and federal rules of civil procedure.
 21          I declare under penalty of perjury under the laws of the State of California and
 22   United States of America that the foregoing is true and correct.
 23

 24          Executed in Los Angeles, CA on October 15, 2023.
 25                                                                    /s/ XINGFEI LUO
 26

 27

 28
                                                    10
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  1                                CERTIFICATE OF SERVICE
  2          I declare that I electronically filed the foregoing with the United States District
  3   Court, Central District of California. Participants in the case who are registered CM/ECF
  4   users will be served by the CM/ECF system.
  5          In addition, I electronically served the forgoing to the following email address:
  6          michael.butera@doj.ca.gov
  7          I declare under penalty of perjury under the laws of the State of California and
  8   United States of America that the foregoing is true and correct.
  9          Executed on October 15, 2023
 10                                                      /s/ XINGFEI LUO
 11                                                      XINGFEI LUO, In Pro Per

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              REQUEST FOR DISCOVERY AND THIRD MOTION FOR APPOINTMENT OF COUNSEL
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                               EXHIBIT 1
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                                       #:1887




23CM00067 Case Filings
From:         "Mikhail, Marian" <Marian.Mikhail@ocaltdef.com>
To:           "CPRArq@mail.com" <CPRArq@mail.com>
Date:         Aug 27, 2023 4:25:21 PM




Please find attached your case filings and minutes.




CONFIDENTIAL EMAIL: The information contained in this email is confidential and may also
be attorney-client privileged and constitute attorney work product. The information is intended
only for the use of the individual or entity to whom it is addressed. If you are not the intended
recipient, you are hereby notified that any use, dissemination, distribution or copying of this
communication is strictly prohibited. If you have received this communication in error, please
notify sender immediately.


Attachments


      Minutes_23CM00067.pdf
      Amended Complaint_23CM00067.pdf
      Complaint_23CM00067.pdf
      Court Advisement Prior to Trial_23CM00067.pdf
      Court Jury Instructions.pdf
      Court Order Shortening Time_23CM00067.pdf
      Court's Proposed Jury Instructions.pdf
      DA Opposition to Double Jeopardy Motion_23CM00067.pdf
      Defense Discovery Request_23CM00067.pdf
      Defense Motion in limine_23CM00067.pdf
      Defense Motion to Dismiss Double Jeopardy_23CM00067.pdf
      Defense Motion to Dismiss_First Amendment_23CM00067.pdf
      Motion to Dismiss_Insufficient Pleading_23CM00067.pdf
      Order Shortening Time Double Jeopardy Motion_23CM00067.pdf
      Prosecution Motion in limine.pdf
      Prosecution's Proposed Jury Instructions.pdf
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                               EXHIBIT 2
                   Case 8:22-cv-01640-MEMF-KES Document 45 Filed 10/15/23 Page 15 of 85 Page ID
                                                    #:1889
   Case Summary
   Case Number:           23CM00067
   OC Pay Number:         11200090
   Originating Court: Central
   Defendant:             Luo, Xingfei
   Demographics:
                          Sex:                       Female
                          Eyes:                      Brown
                          Hair:                      Black
                          Height(ft/in) :            5'5"
                          Weight (lbs):              96
                          Race:                      Asian
                          Address:                   10628 Hallwood Drive Temple City, CA 91780
   Identifiers:




   Names:
             Last Name First Name Middle Name                  Type      Date of Birth
             Luo            Xingfei                          Real Name
             Lou            Xingfei                          Alias
   Case Status:
                   Status:               Closed
                   Case Stage:
                   Release Status:
                   Warrant:              N
                   DMV Hold :            N
                   Charging Document:    Complaint
                   Mandatory Appearance: Y
                   Owner's Resp:         N
                   Amendment #:          1
                   DA Case #:            22C07939
                   DR #:                 22-09260
   Counts:
             Seq S/A Violation Date Section Statute OL                             Violation                   Plea        Plea Date      Disposition       Disposition Date
             1     0      04/20/2022          166(a)(4) PC      M     Contempt of court - disobey court order NOT GUILTY 02/10/2023 Found Not Guilty by Jury 03/28/2023
   Professionals:
                             Role             Badge Agency                 Name              Vacation Start Vacation End
                       Alternate Defender            ALTD       Deputy Alternate Defender,
                       District Attorney             OCDA       Nguyen-McDonald, Daniel
                       Alternate Defender            ALTD       Mikhail, Marian
                       District Attorney             OCDA       Gomez, Steven
                       District Attorney             OCDA       Voge, James
                       District Attorney             OCDA       Ellis, Therese
                       Alternate Defender            ALTD       Follett, James
                       District Attorney             OCDA       Johnson, Alexis
                       District Attorney             OCDA       Zhan, MingMing
   Other Cases:
                         Case               Case Status        Violation Date
                   19CM06724 Appeal                 09/07/2018
                   M-19285   Habeas Corpus Petition
                   M-20069   Habeas Corpus Petition
   Heard Hearings:
                            Date             Hearing Type - Reason           Courtroom Hearing Status Special Hearing Result
                        02/07/2023 Motion Dismissal                         C47          Heard
                        02/07/2023 Motion Dismissal                         C48          Heard
                        02/08/2023 Motion Dismissal                         C48          Heard           Waives arraignment today
                        02/10/2023 Arraignment -                            C48          Heard

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                  02/24/2023 Arraignment - C54   #:1890
                                                Cancel
                     03/03/2023 Pre Trial -                      C47             Cancel
                     03/03/2023 Pre Trial -                      C50             Heard            Time not waived
                     03/10/2023 Pre Trial -                      C47             Cancel
                     03/10/2023 Pre Trial -                      C51             Heard            waives statutory time for
                     03/16/2023 Jury Trial -                     C47             Heard
                     03/20/2023 Motion Dismiss [Penal Code 1385] C47             Cancel
                     03/20/2023 Jury Trial -                     C47             Heard
                     03/20/2023 Motion Dismiss [Penal Code 1385] C47             Heard
                     03/20/2023 Motion Dismiss [Penal Code 1385] C53             Heard
                     03/21/2023 Motion Dismissal                 C47             Cancel
                     03/21/2023 Jury Trial -                     C47             Heard
                     03/22/2023 Jury Trial -                     C47             Heard
                     03/22/2023 Jury Trial -                     C53             Heard            waives statutory time for
                     03/23/2023 Jury Trial -                     C53             Heard            waives statutory time for
                     03/24/2023 Jury Trial -                     C53             Heard            waives statutory time for
                     03/27/2023 Jury Trial -                     C53             Heard            waives statutory time for
                     03/28/2023 Jury Trial -                     C53             Heard
                     07/24/2023 Chambers Work -                  C56             Heard
   Register of Actions:

       Date    Seq    Docket                                                                        Text
      Action   Nbr     Code
    12/30/2022 1     FLDOC   Original Complaint filed on 12/30/2022 by Orange County District Attorney.
               2     FLNAM   Name filed: Luo, Xingfei
               3     FLCNT   MISDEMEANOR charge of 273.6(a) PC filed as count 1. Date of violation: 04/20/2022.
               4     CLADD   At the request of People, case calendared on 02/24/2023 at 08:30 AM in C54 for ARGN.
               5     FI959   Accusatory pleading filed by the prosecutor pursuant to Penal Code section 959.1.
               7     FIFCI   Arraignment Letter filed.
               8     FIBWCPO Body Worn Camera Protective Order filed.

    01/25/2023 1     FIMTN2 Defense Notice of Motion; Motion to Dismiss Pursuant to U.S. and C.A. Due Process for Insufficient Notice or Pleading; Or in the Alternative,
                             Pursuant to Penal Code Section 1004 filed.
               2     CLCST2 Motion re: Dismissal set on 02/07/2023 at 08:30 AM in Department C47.
    02/07/2023 1     HHELD   Hearing held on 02/07/2023 at 08:30:00 AM in Department C47 for Motion Dismissal.
               2     OFJUD   Judicial Officer: Cynthia M Herrera, Judge
               3     OFJA    Clerk: M. Diaz
               4     OFBAL   Bailiff: F. Ramirez
               5     APDDA   People represented by Steven Gomez, Deputy District Attorney, present.
               6     APTXT   Alternate Defender appointed based on prior representation on case 19CM06724 which is currently on appeal
               7     APDAL   Court appoints Alternate Defender to represent Defendant.
               8     APNDC   Defendant not present in Court represented by Marian Mikhail, Alternate Defender.
               10    WV977   Defendant's appearance is waived pursuant to Penal Code 977(a).
                             Pursuant to the California Code of Judicial Ethics, Canon 3, subsection E(2), Court Disclosure regarding the criminal case filed in the People
               11    ADSCD
                             of the State of California v. Isaac Jones, case number 19CF0869 given by Cynthia M Herrera, Judge in court.
               12    TRPDR      Case called. People answer ready. Defense answers ready.
               13    CLRSN2     Motion re: Dismissal reassigned for 02/07/2023 at 11:15 AM in Department C48, Gregg L. Prickett Judge, 30 minute time estimate.
               14    CLTXT      all parties to report forthwith to C48
               15    CLTRM      Arraignment for 02/24/2023 08:30 AM in C54 to remain.
               16    TEXT       Release status to be addressed on the scheduled arraignment date of 2/24/23
               17    OFMCD      Minutes entered by C. Shenkman on 02/07/2023.
               18    HHELD      Hearing held on 02/07/2023 at 11:15:00 AM in Department C48 for Motion Dismissal.
               19    OFJUD      Judicial Officer: Gregg L. Prickett, Judge
               20    OFJA       Clerk: K. Barnstein
               21    OFBAL      Bailiff: J. L. Mc Million
               22    APNDC      Defendant not present in Court represented by Marian Mikhail, Alternate Defender.
               23    WV977      Defendant's appearance is waived pursuant to Penal Code 977(a).
               24    APDDA      People represented by Daniel Nguyen-McDonald, Deputy District Attorney, present.
               25    CLSET2     Motion re: Dismissal trailed to 02/08/2023 at 10:00 AM in Department C48.
               26    CLTRM      Arraignment for 02/24/2023 08:30 AM in C54 to remain.
    02/08/2023 1     HHELD      Hearing held on 02/08/2023 at 10:00:00 AM in Department C48 for Motion Dismissal.
               2     OFJUD      Judicial Officer: Gregg L. Prickett, Judge
               3     OFJA       Clerk: K. Barnstein
               4     OFBAL      Bailiff: T. Barron
               5     APNDC      Defendant not present in Court represented by Marian Mikhail, Alternate Defender.
               6     WV977      Defendant's appearance is waived pursuant to Penal Code 977(a).
               7     APDDA      People represented by Daniel Nguyen-McDonald, Deputy District Attorney, present.
                                                                                                                                                       002
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               8 FIAMD                                                 #:1891
                        First Amended Complaint filed by Orange County District Attorney.
               9    CTAMC  To the First Amended Complaint count 1 now reads 166(a)(4) PC, MISDEMEANOR. Date of violation: 04/20/2022.
               10   WVRAT Defendant waives the right to be arraigned today.
               11   CLSET  Arraignment set on 02/10/2023 at 08:30 AM in Department C48.
               12   CLTRM  Arraignment for 02/24/2023 08:30 AM in C54 to remain.
    02/10/2023 1    HHELD  Hearing held on 02/10/2023 at 08:30:00 AM in Department C48 for Arraignment.
               2    OFJUD  Judicial Officer: Gregg L. Prickett, Judge
               3    OFJA   Clerk: K. Barnstein
               4    OFBAL  Bailiff: J. L. Mc Million
               5    APDWAL Defendant present in Court with counsel Marian Mikhail, Alternate Defender.
               6    APDDA  People represented by James Voge, Deputy District Attorney, present.
               7    CPCDD  Copy of First Amended Complaint given to defense counsel.
               8    WVRAA Defendant waives reading and advisement of the First Amended Complaint.
               9    PLNGA  To the First Amended Complaint defendant pleads NOT GUILTY to all counts.
               10   MORES Defense reserves all motions.
               11   DFSFC  Defendant invokes state, federal and constitutional rights.
               12   DFIRD  Informal request for discovery made by Defense.
               13   CLSET  Pre Trial set on 03/03/2023 at 09:00 AM in Department C47.
               14   DFOTR  Defendant ordered to physically appear.
               15   CLSET  Jury Trial set on 03/16/2023 at 09:00 AM in Department C47.
               16   CLVAC  Arraignment vacated for 02/24/2023 at 08:30 AM in C54. (Entered NUNC_PRO_TUNC on 02/23/23)
               17   DFOTR  Defendant ordered to physically appear.
               18   DSROR Court orders defendant released on own recognizance.
               19   COBWCA Court orders the Body Worn Camera Protective Order filed on 12/30/2022 approved, issued and in full effect.
    02/15/2023 1    FITXT  Request for Discovery filed.
    02/23/2023 1    NUNCPT Nunc Pro Tunc entry(s) made on this date for 02/10/2023.
    03/01/2023 1    CLTRF  Calendar Line for PT transferred from C47 on 03/03/2023 at 09:00 AM to C50 on 03/03/2023 at 09:00 AM.
    03/03/2023 1    HHELD  Hearing held on 03/03/2023 at 09:00:00 AM in Department C50 for Pre Trial.
               2    OFJUD  Judicial Officer: William Scott Zidbeck, Judge
               3    OFJA   Clerk: V. Barragan
               4    OFBAL  Bailiff: C. Herrera
                           Proceedings recorded electronically. The recording equipment is functioning normally, and all of the proceedings in open court between
              5     TRPRT
                           designated times of day will be recorded, except for such matters as were expressly directed to be "off the record" or as otherwise specified.
               6    APDDA  People represented by Steven Gomez, Deputy District Attorney, present.
               7    APDWAL Defendant present in Court with counsel Marian Mikhail, Alternate Defender.
               8    FICON  Request for Continuance - Misdemeanor filed.
               9    CLCON  Pre Trial continued to 03/10/2023 at 08:30 AM in Department C47 by stipulation of all parties.
               10   TEXT   Court authorizes 977 appearance.
               11   CLTRM  Jury Trial for 03/16/2023 09:00 AM in C47 to remain.
               12   DFOTR  Defendant ordered to appear.
               13   WVNWT Defendant does not waive statutory time for Jury Trial.
               14   DSOCN Defendant's release on own recognizance continued.
               15   TXKPW  Keep with companion cases(s) 19CM06724.
               16   OFMCD Minutes entered by H. Gomez on 03/03/2023.
    03/08/2023 1    CLTRF  Calendar Line for PT transferred from C47 on 03/10/2023 at 08:30 AM to C51 on 03/10/2023 at 08:30 AM.
    03/10/2023 1    HHELD  Hearing held on 03/10/2023 at 08:30:00 AM in Department C51 for Pre Trial.
               2    OFJUD  Judicial Officer: Stephen J. McGreevy, Judge
               3    OFJA   Clerk: E. Flores
               4    OFBAL  Bailiff: A. Gonzales
               5    APDDA  People represented by Alexis Johnson, Deputy District Attorney, present.
               6    APNDC  Defendant not present in Court represented by Marian Mikhail, Alternate Defender.
                           Although Judge McGreevy believes he can and will be impartial in this matter, to comply with this requirement, Court discloses the following:
                           Judge McGreevy was elected to the Orange County Superior Court in June of 2022. Before taking the bench, Judge McGreevy worked as a
              7     TEXT   prosecutor in the Orange County District Attorney's office for 25 years. When Judge McGreevy left the OCDA's office, his job title was
                           Assistant District Attorney in charge of the Homicide Unit. For 9 months he was an Assistant District Attorney in the Gang Unit. Prior to being
                           an Assistant District Attorney, Judge McGreevy worked as a Senior Deputy District Attorney in the Homicide Unit and the Sexual Assault Unit.
              8     FICON  Request for Continuance - Misdemeanor filed.
              9     CLTRM  Jury Trial for 03/16/2023 09:00 AM in C47 to remain.
              10    TEXT   Defendant is ordered to appear unless advised by defense counsel that matter will be continued.
              11    DSOCN Defendant's release on own recognizance continued.
              12    TXKPW  Keep with companion cases(s) 19CM06724.

    03/14/2023 1    FIMTN2 Defense Notice of Motion; Motion to Dismiss in Violation of Double Jeoparday Under the California and US Constitutions; Penal Code Section
                           654; and In the Interest of Justice Under Penal Code Section 1385 filed.
               2    TXRNF  Request and Order Shortening Time received, not filed.
               3    CLCST2 Motion re: Dismissal set on 03/21/2023 at 08:30 AM in Department C47.
    03/16/2023 1    HHELD  Hearing held on 03/16/2023 at 09:00:00 AM in Department C47 for Jury Trial.

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              2  OFJUD  Judicial Officer: Cynthia M Herrera, Judge #:1892
              3     OFJA     Clerk: C. Shenkman
              4     OFBAL    Bailiff: F. Ramirez
                             Proceedings recorded electronically. The recording equipment is functioning normally, and all of the proceedings in open court between
              5     TRPRT
                             designated times of day will be recorded, except for such matters as were expressly directed to be "off the record" or as otherwise specified.
              6     APDDA    People represented by Therese Ellis, Deputy District Attorney, present.
              7     APDWAL   Defendant present in Court with counsel Marian Mikhail, Alternate Defender.
                             Pursuant to the California Code of Judicial Ethics, Canon 3, subsection E(2), Court Disclosure regarding the criminal case filed in the People
              8     ADSCD
                             of the State of California v. Isaac Jones, case number 19CF0869 given by Cynthia M Herrera, Judge in court.
              9     CORAC    Court read and considered Request and Order Shortening Time.
              10    MOTBY    Motion by Defense to shorten time for Motion to Dismiss in Violation of Double Jeopardy
              11    MOTION   Motion argued.
              12    MOTION   Motion granted.
              13    MOPEO    Objection by the People.
                             Defense requests to set Motion and Jury Trial on 3/21/23 if Court grants shortening of time. Request was denied. (Entered
              14    TEXT
                             NUNC_PRO_TUNC on 03/17/23)
               16   TRPDR    Case called. People answer ready. Defense answers not ready.
               19   CLSET2   Motion re: Dismiss [Penal Code 1385] set on 03/20/2023 at 08:30 AM in Department C47. (Entered NUNC_PRO_TUNC on 03/17/23)
               21   CLSET    Jury Trial trailed to 03/20/2023 at 08:30 AM in Department C47.
               22   DFOTR    Defendant ordered to appear.
               23   CLTXT    Day 45 is 3/27/23
               24   DSOCN    Defendant's release on own recognizance continued.
               25   TXKPW    Keep with companion cases(s) 19CM06724.
               26   OFMDD    Minutes of 03/16/2023 entered on 03/17/2023.
    03/17/2023 1    NUNCPT   Nunc Pro Tunc entry(s) made on this date for 03/16/2023.
               2    NUNCPT   Nunc Pro Tunc entry(s) made on this date for 03/16/2023.
               3    NUNCPT   Nunc Pro Tunc entry(s) made on this date for 03/16/2023.
    03/20/2023 1    FITXT    People's Opposition to Defense Omnibus Motion to Dismiss filed.
               2    HHELD    Hearing held on 03/20/2023 at 08:30:00 AM in Department C47 for Motion Dismiss [Penal Code 1385].
               3    OFJUD    Judicial Officer: Cynthia M Herrera, Judge
               4    OFJA     Clerk: M. Diaz
               5    OFBAL    Bailiff: F. Ramirez
               6    OFMCD    Minutes entered by C. Shenkman on 03/20/2023.
               7    APDDA    People represented by Daniel Nguyen-McDonald, Deputy District Attorney, present.
               8    APDWAL   Defendant present in Court with counsel James Follett, Alternate Defender.
                             Pursuant to the California Code of Judicial Ethics, Canon 3, subsection E(2), Court Disclosure regarding the criminal case filed in the People
              9     ADSCD
                             of the State of California v. Isaac Jones, case number 19CF0869 given by Cynthia M Herrera, Judge in court.
              10    TEXT     As to the Motion:
              11    TRPDR    Case called. People answer ready. Defense answers ready.
                             Motion re: Dismiss [Penal Code 1385] reassigned for 03/20/2023 at 10:30 AM in Department C53, H. Shaina Colover Judge, 30 minute
              12    CLRSN2
                             estimate.
              13    CLTXT    All parties to report forthwith
              14    CLTRM    Jury Trial for 03/20/2023 08:30 AM in C47 to remain.
              15    DSOCN    Defendant's release on own recognizance continued.
              16    HHELD    Hearing held on 03/20/2023 at 10:30:00 AM in Department C53 for Motion Dismiss [Penal Code 1385].
              17    OFJUD    Judicial Officer: H. Shaina Colover, Judge
              18    OFJA     Clerk: M. Ruiz
              19    OFBAL    Bailiff: S. Garcia
                             Proceedings recorded electronically. The recording equipment is functioning normally, and all of the proceedings in open court between
              20    TRPRT
                             designated times of day will be recorded, except for such matters as were expressly directed to be "off the record" or as otherwise specified.
              21    TRIOC    In open court at 10:11 AM
              22    APDDA    People represented by Daniel Nguyen-McDonald, Deputy District Attorney, present.
              23    APDWAL   Defendant present in Court with counsel James Follett, Alternate Defender.
              24    CORAC    Court read and considered Motion to Dismiss, Request, Order for Shortening time and People's Opposition.
              25    MOTION   Motion argued.
              26    TRALP2   Again in open court at 01:51 PM. Defendant present with counsel. People duly represented.
              27    TRTXT    Defense resumes argument on Motion to Dismiss.
              28    MOTION   Motion denied.
              29    TEXT     Court states ruling is for all and without prejudice.- reasons as stated on the record.
              30    FIORD    Order Shortening Time signed and filed.
              31    CLTRM    Jury Trial for 03/20/2023 08:30 AM in C47 to remain.
              32    DFOTR    Defendant ordered to appear.
              33    DSOCN    Defendant's release on own recognizance continued.
              35    HHELD    Hearing held on 03/20/2023 at 08:30 AM in Department C47 for Jury Trial.
              36    APDDA    People represented by MingMing Zhan, Deputy District Attorney, present.
              37    APDWAL   Defendant present in Court with counsel James Follett, Alternate Defender.

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              38 TRPDR                                                #:1893
                        Case called. People answer ready. Defense answers not ready.
              39    MOTBY  Oral motion by Defense to trail the matter to 03/22/2023.
              40    TEXT   People state there are potential witness availability issues and request to have the matter trail day by day.
              41    MOTION Motion argued.
              42    TEXT   Parties are heard as to discovery issues.
                           Proceedings recorded electronically. The recording equipment is functioning normally, and all of the proceedings in open court between
              43    TRPRT
                           designated times of day will be recorded, except for such matters as were expressly directed to be "off the record" or as otherwise specified.
               44   TEXT   Court memorialized the proceedings thus far this afternoon.
               45   TEXT   Further argument as to potential discovery issues is heard.
               46   TEXT   Defense motion to trail the matter to 03/22/2023 is denied.
               47   CLTXT  Upon the Court's own motion:
               48   CLSET  Jury Trial trailed to 03/21/2023 at 01:30 PM in Department C47.
               49   DFOTR  Defendant ordered to appear.
               50   CLTXT  Day 39 of 45.
               51   DSOCN Defendant's release on own recognizance continued.
               52   TXKPW  Keep with companion cases(s) 19CM06724.
               53   OFMCD Minutes entered by M. Diaz on 03/20/2023.
    03/21/2023 1    HHELD  Hearing held on 03/21/2023 at 01:30:00 PM in Department C47 for Jury Trial.
               2    OFJUD  Judicial Officer: Cynthia M Herrera, Judge
               3    OFJA   Clerk: C. Shenkman
               4    OFBAL  Bailiff: F. Ramirez
               5    APDDA  People represented by MingMing Zhan, Deputy District Attorney, present.
               6    APDWAL Defendant present in Court with counsel James Follett, Alternate Defender.
                           Pursuant to the California Code of Judicial Ethics, Canon 3, subsection E(2), Court Disclosure regarding the criminal case filed in the People
              7     ADSCD
                           of the State of California v. Isaac Jones, case number 19CF0869 given by Cynthia M Herrera, Judge in court.
               8    TRPDR  Case called. People answer ready. Defense answers not ready.
               9    CLSET  Jury Trial trailed to 03/22/2023 at 08:30 AM in Department C47.
               10   TEXT   Jury trial trailed at requst of defense
               11   DFOTR  Defendant ordered to appear.
               12   CLTXT  day 40 of 45
               13   DSOCN Defendant's release on own recognizance continued.
               14   TXKPW  Keep with companion cases(s) 19CM06724.
    03/22/2023 1    HHELD  Hearing held on 03/22/2023 at 08:30:00 AM in Department C47 for Jury Trial.
               2    OFJUD  Judicial Officer: Cynthia M Herrera, Judge
               3    OFJA   Clerk: C. Shenkman
               4    OFBAL  Bailiff: F. Ramirez
               5    APDDA  People represented by MingMing Zhan, Deputy District Attorney, present.
               6    APDWAL Defendant present in Court with counsel James Follett, Alternate Defender.
                           Pursuant to the California Code of Judicial Ethics, Canon 3, subsection E(2), Court Disclosure regarding the criminal case filed in the People
              7     ADSCD
                           of the State of California v. Isaac Jones, case number 19CF0869 given by Cynthia M Herrera, Judge in court.
              8     TRPDR  Case called. People answer ready. Defense answers ready.
              9     CLRSN  Jury Trial reassigned for 03/22/2023 at 09:30 AM in Department C53, Judge H. Shaina Colover, 4 day time estimate.
              10    CLTXT  Parties ordered to report forthwtih.
              11    TXKPW  Keep with companion cases(s) 19CM06724.
              12    OFMCD  Minutes entered by M. Diaz on 03/22/2023.
              13    HHELD  Hearing held on 03/22/2023 at 09:30:00 AM in Department C53 for Jury Trial.
              14    OFJUD  Judicial Officer: H. Shaina Colover, Judge
              15    OFJA   Clerk: M. Ruiz
              16    OFBAL  Bailiff: S. Garcia
              17    FIMTN  People Motion Pursuant to Evidence Code 402 filed.
              18    FIMTN  Defense Motion Pursuant to Evidence Code 402 filed.
              19    TRCBR  At 10:09 AM, Court and Counsel confer in chambers without court monitor present.
              20    TRTXT  Chamber conference concludes at 11:19 AM.
              21    TRTXT  The Court directs the clerk to order a panel of 40 prospective jurors for this date at 1:30 PM.
                           Proceedings recorded electronically. The recording equipment is functioning normally, and all of the proceedings in open court between
              22    TRPRT
                           designated times of day will be recorded, except for such matters as were expressly directed to be "off the record" or as otherwise specified.
              23    TRIOC  In open court at 11:34 AM
              24    APDDA  People represented by MingMing Zhan, Deputy District Attorney, present.
              25    APDWAL Defendant present in Court with counsel James Follett, Alternate Defender.
              26    TRPDR  Case called. People answer ready. Defense answers ready.
              27    FITXT  Court Advisement and Trial Stipulations Department C53 filed.
              28    TRTXT  The Court has provided a copy of Trial and Jury Selection Department C53 to counsel.
              30    TRTXT  Court memorializes previous chambers conference taken at 9:43 AM.
              31    TRTXT  The Court reviewed People's potential exhibit list.
              32    TRTXT  All parties are present and ready to proceed with 402 Evidence Code motions as follows:
              33    TRTXT  The Court now hears the Peoples 402 Motions in Limine.
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              34CLTXT  Peoples Motion in Limine Number One (1). #:1894
              35   MOTBY    Motion by People to exclude questions regarding the Legality of Detention, Searches, or Miranda Advisements
              36   MOTION   Motion argued.
              37   TRTXT    Court grants motion as modified on the record.
              38   CLTXT    Peoples Motion in Limine Number Two (2).
              39   MOTBY    Motion by People to exclude questions and mentioning regarding double jeopardy and the legalityof the charge.
              40   TRTXT    No objection by the Defense.
              41   MOTION   Motion granted.
              42   CLTXT    Peoples Motion in Limine Number Three (3).
              43   MOTBY    Oral motion by People to exclude questions and mentioning regarding the restitution amount ordered for the victim Mr. Czodor in 19CM06724
              44   MOTION   Motion granted.
              45   CLTXT    Peoples Motion in Limine Number Four (4).
                            Motion by People to exclude reference to the ultimate impact of the jury verdict on defendant and her family and any evidence to garner
              46   MOTBY
                            sympathy.
              47   MOTION   Motion granted.
              48   CLTXT    Peoples Motion in Limine Number Five (5).
              49   MOXWG    Motion by People to exclude all witnesses from the courtroom granted.
              50   CLTXT    Peoples Motion in Limine Number Six (6).
              51   MOTBY    Motion by People to exclude testimonial evidence from defendant's witnesses
              52   TRTXT    No objection by the Defense.
              53   MOTION   Motion granted.
              54   CLTXT    Peoples Motion in Limine Number Seven (7).
              55   MOTBY    Motion by People to exlcude arguments violating the "Golden Rule."
              56   TRTXT    No objection by the Defense.
              57   MOTION   Motion granted.
              58   CLTXT    Peoples Motion in Limine Number Eight (8).
                            Motion by People to exclude all references to a mistrial, prosecutorial misconduct or error, 1118 motions, Wheeler motions, alleged disovery
              59   MOTBY
                            violations, or similarly inflammatory objections and motions in the presence of the jury
              60   TRTXT    No objection by the Defense.
              61   TRTXT    Court grants motion as modified on the record.
              62   CLTXT    Peoples Motion in Limine Number Nine (9).
              63   MOTBY    Motion by People to request Discovery Under Penal Code 1054.3
              64   TRTXT    No objection by the Defense.
              65   MOTION   Motion granted.
              66   CLTXT    Peoples Motion in Limine Number Ten (10).
              67   MOTBY    Motion by People to request defense to disclose any defense exhibits or transcripts prior to introducing them to the Jury
              68   TRTXT    Court grants motion as modified on the record.
              69   CLTXT    Peoples Motion in Limine Number Eleven (11).
              70   MOTBY    Motion by People to admit prior statments of defendant when offered against the defendant
              71   MOTION   Motion argued.
              72   TRTXT    Court will rule after jury selection.
              73   CLTXT    Peoples Motion in Limine Number Twelve (12).
              74   MOTBY    Motion by People to exclude prior statments of the defendant when offered by the defense
              75   TRTXT    Court will rule after jury selection.
              76   CLTXT    Peoples Motion in Limine Number Thirteen (13).
              77   MOTBY    Motion by People to admit (1) Certified Restraining Orders issued in 18V002374 and (2) Minute Order from July 29, 21 through judicial notice
              78   TRTXT    Court will rule after jury selection.
              79   CLTXT    Peoples Motion in Limine Number Fourteen (14).
              80   MOTBY    Motion by People to introduce other acts of domestic violence evidence pursuant to evidence code section 1109
              81   TRTXT    Court will rule after jury selection.
              82   CLTXT    Peoples Motion in Limine Number Fifteen (15).
                            Motion by People to exclude questions and mentioning regarding the following arrests and/or conviction of Mr. Czodor: (a) 7/27/08 arrest of
                            CA B&P 7028(a) (arrest relief granted per 851.93PC) (b) 5/29/08 conviction of CA B&P 7028(a) a misdemeanor in 08NM05806 (c) 10/17/08
              83   MOTBY
                            arrest of VC31 (Dismissed in the interest of justice) (d) 7/15/10 conviction of CA B&P 7028(a), 7027.1 (a), and 16240 as misdemeanors in
                            09CF3055
              84   MOTION   Motion granted.
              85   TRTXT    The Court now hears the Defense 402 Motions in Limine.
              86   CLTXT    Defense Motion in Limine Number One (1A).
              87   MOXWG    Motion by Defense to exclude all witnesses from the courtroom granted.
              88   CLTXT    Defense Motion in Limine Number One (1B).
                            Motion by Defense to admonish all witnesses not to communicate with one another during the course of trial on matters regarding this case.
              89   MOTBY    Motion to advise the prosecutor to inform prosecution witnesses not to communicate with one another during the course of the trial on matters
                            regarding the case.
              90   MONOB    No objection by People.
              91   MOTION   Motion granted.
              92   CLTXT    Defense Motion in Limine Number One (1C).

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                        Motion by Defense for each objection posed during#:1895
                                                                          in limine motions to be deemed a continuing objection to the admission of the proffered
              93 MOTBY
                              evidence
              94    MONOB     No objection by People.
              95    MOTION    Motion granted.
              96    CLTXT     Defense Motion in Limine Number One (1D).
              97    MOTBY     Motion by Defense to order that all parties refrain from referring to the Office of the District Attorney by "the people."
              98    MOTION    Motion denied.
              99    TRTXT     Reasons as stated on the record.
              100   CLTXT     Defense Motion in Limine Number One (1E).
                              Motion by Defense to order the prosecutor to refrain from referring to Defense Counsel as the Public Defender or an employee of Orange
              101 MOTBY
                              County. Order the Prosecutor to instruct all his witnesses to do the same.
              102   MONOB     No objection by People.
              103   MOTION    Motion granted.
              104   CLTXT     Defense Motion in Limine Number One (1F).
              105   MOTBY     Motion by People to have the entire jury trial recorded, including all discussions that are made outside the presence of the Jury.
              106   MONOB     No objection by People.
              107   MOTION    Motion granted.
              108   CLTXT     Defense Motion in Limine Number One (1G).
                              Motion by People to order the Deputy District Attorney to refrain from making any comment insinuation, or statement at any time during the
              109 MOTBY
                              trial of this matter with respect to the defendant's assertion of the defendant's right to remain silent or failure to testify
              110   MONOB     No objection by People.
              111   MOTION    Motion granted.
              112   CLTXT     Defense Motion in Limine Number Two (2).
              113   MOTBY     Motion by Defense to preclude the prosecution from attempting to amend the complaint
              114   TRTXT     Court grants motion. Court will rule in accordance with the law- reasons as stated on the record.
              115   CLTXT     Defense Motion in Limine Number Three (3).
                              Motion by Defense requests that the prosecutionh disclose any and all exculpatory and impeachment evidence as required by BRADY and its
              116 MOTBY
                              progeny
              117   MONOB     No objection by People.
              118   MOTION    Motion granted.
              119   CLTXT     Defense Motion in Limine Number Four (4).
              120   MOTBY     Motion by Defense for prosecution to provide defense with copies of any photos, exhibits, transcripts, or real evidence it intends to use
              121   MONOB     No objection by People.
              122   MOTION    Motion granted.
              123   CLTXT     Defense Motion in Limine Number Five (5).
              124   MOTBY     Motion by Defense to exclude all witnesses not properly disclosed under penal code 1054.1
              125   MONOB     No objection by Defense.
              126   MOTION    Motion granted.
              127   CLTXT     Defense Motion in Limine Number Six (6).
              128   MOTBY     Motion by Defense to prohibit prosecution witnesses from commenting on the veracity of other witness testimony
              129   MONOB     No objection by People.
              130   MOTION    Motion granted.
              131   CLTXT     Defense Motion in Limine Number Seven (7).
              132   MOTBY     Motion by Defense order the prosecution to disclose all information it intends to use to impeach the defendant
              133   MOTION    Motion granted.
              135   CLTXT     Defense Motion in Limine Number Eight (8).
                              Motion by Defense to require the Deputy District Attorney to disclose oral statements made to the prosecutores office before or during trial by
              136 MOTBY
                              witnesses, including law enforcement witnesses.
              137   TRTXT     Court will rule after jury selection.
              138   CLTXT     Defense Motion in Limine Number Nine (9).
              139   MOTBY     Motion by Defense requests that all objections be federalized
              140   TRTXT     Court will rule after jury selection.
              141   CLTXT     Defense Motion in Limine Number Ten (10).
              142   MOTBY     Motion by Defense requets the court preclude Ms. Luo's statements before the family court
              143   TRTXT     Court will rule after jury selection.
              144   CLTXT     Defense Motion in Limine Number Eleven (11).
              145   MOTBY     Oral motion by Defense moves to preclude any discussions of the events of the 19CM case
              146   TRTXT     Court will rule after jury selection.
              147   CLTXT     Defense Motion in Limine Number Twelve (12).
                              Motion by Defense moves to preclude any use by the prosecution of Ms. Luo's 19CM conviction to establish the element of control over the
              148 MOTBY
                              alleged postings
              149   TRTXT     Court will rule after jury selection.
              151   CLTXT     Defense Motion in Limine Number Thirteen (13).
              152   MOTBY     Motion by Defense to preclude any acts of prior conduct pursuant to evidence code section 1101(b).
              153   MOTION    Motion denied.
              155   CLTXT     Defense Motion in Limine Number Fourteen (14).

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              156
                MOTBY  Motion by Defense objects to any reference to Ms. #:1896
                                                                         Luo's past criminal history, including any open cases
              157   TRTXT    Court will rule after jury selection.
              158   CLTXT    Defense Motion in Limine Number Fifteen (15).
              159   MOTBY    Motion by Defense prohibit the prosecutors from making "community caretaker" arguments in closing
              161   MONOB    No objection by People.
              162   MOTION   Motion granted.
              163   CLTXT    Defense Motion in Limine Number Sixteen (16).
              164   MOTBY    Motion by Defense order the prosecution to refrain from referring to Tomas Czodor as a victim in this case
              166   TRTXT    Court grants motion as modified on the record only as to "alleged victim."
              167   CLTXT    Defense Motion in Limine Number Seventeen (17).
                             Motion by Defense order the prosecution to refrain from discussing different sentencing options or any form of punishment in the presence of
              168 MOTBY
                             the Jury
              169   MOTION   Motion granted.
              170   CLTXT    Defense Motion in Limine Number Eighteen (18).
              171   MOTBY    Motion by Defense order the prosecution to not trivialize the reasonable doubt standard
              172   TRTXT    Court grants motion as modified on the record.
              174   CLTXT    Defense Motion in Limine Number Nineteen (19).
              175   MOTBY    Motion by Defense order voir dire to comport with code civil procedure section 225(b) and not engage in improper questioning or primering
              176   MOTION   Motion granted.
              178   CLTXT    Defense Motion in Limine Number Twenty (20).
                             Motion by Defense order the prosecution, the court, and court staff to refrain from referring to Ms. Luo by anything, except for her name,
              179 MOTBY
                             particularly "The Defendant, " in the presence of the Jury
              180   MOTION   Motion denied.
              182   CLTXT    Defense Motion in Limine Number Twenty One (21)
              183   MOTBY    Motion by Defense order that the parties admonish their witnesses of any in limine rulings limiting their testimony
              184   MOTION   Motion granted.
              186   CLTXT    Defense Motion in Limine Number Twenty Two (22)
              187   MOTBY    Motion by Defense order that all in limine rulings remain in full force and effect for the duration of the trial
              188   MOTION   Motion granted.
              190   CLTXT    Defense Motion in Limine Number Twenty Three (23)
              191   MOTBY    Motion by Defense reserve remaining motions in limine to be argued orally
              192   MOTION   Motion granted.
              194   TRTXT    Both parties agree and do not object to any of each other's remaining 402 motions to be ruled on after jury selection.
              195   TRREC    At 12:18 PM, court declared a recess.
              196   TRCBR    At 01:48 PM, Court and Counsel confer in chambers without court monitor present.
              197   TRTXT    Chamber conference concludes at 2:08 PM.
              198   TRALP2   Again in open court at 02:09 PM. Defendant present with counsel. People duly represented. Jury is not present.
              200   TRTXT    The Court memorializes previous chambers conference taken at 1:48 PM.
              201   TRTXT    Discussions held as to First Amended Complaint and charges and how the court will read it to the prospective jurors.
              202   TRREC    At 02:19 PM, court declared a recess.
                             At 2:19 PM, prospective jurors present in the hallway outside Department C53. Roll call taken by Deputy S. Gacia and Clerk M. Ruiz, and the
              203 TRTXT
                             prospective jurors were assigned a juror number.
              204 TRTXT      Off the record discussions held.
              205 TRTXT      At 2:30 PM, prospective jurors enter courtroom.
              206   TRIOC    In open court at 02:35 PM
              207   APDDA    People represented by MingMing Zhan, Deputy District Attorney, present.
              208   APDWAL   Defendant present in Court with counsel James Follett, Alternate Defender.
              209   CLTME    Time estimate: 4 days.
              210   TRTXT    Court and Counsel are proceeding on First Amended Complaint.
              211   TRJSE    Roll call having been taken, prospective jurors were sworn for examination.
              212   TRTXT    At 2:35 PM, Judge Colover enters courtroom.
              213   TRPJP    Prospective jurors are present and in their proper places.
              214   TRJEX    Prospective juror(s) called by the clerk to fill the jury box.
              215   TRTXT    The Court welcomes the prospective jurors.
              216   TRTXT    People and Defense introduce themselves to prospective jurors.
              217   TRTXT    People read potential witness list to prospective jurors.
                             The Court inquired of prospective jurors to determine if anyone recognized any of the parties or potential witnesses related to this case. Court
              218 TRTXT
                             heard no response from the prospective jurors.
              219 TRTXT      The Court introduces court staff to prospective jurors.
              220 TRTXT      Court advised jurors regarding time estimate and trial scheduling.
              221 TRJAP      Court read First Amended Complaint to the prospective jurors and advised them of the defendant's plea of not guilty thereto.
                             The Court addressed prospective jurors and inquires of any deferrals and hardship. (Pre-paid personal trips). There is no response to this
              222 TRTXT
                             inquiry.
                             The Court addressed prospective jurors and inquires of any deferrals and hardship. (Medical Appointments) Prospective juror number 115 in
              223 TRTXT      the audience addressed the court and court and inquires. Court excuses prospective juror 115 based on statements made about a medical
                             appointment.
                             The Court addressed prospective jurors and inquires of any deferrals and hardship. (Caregivers).The Court addressed prospective juror 123 in
                                                                                                                                                       008
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              224 TRTXT                                                   #:1897
                        the audience and inquires. Prospective juror remains seated in the audience.
              225    TRTXT      The Court addressed prospective jurors and inquires of any extreme financial hardship. There is no response to this inquiry.
              226    TRTXT      The Court inquires of prospective jurors if anyone is not an Orange County resident. There is no response to this inquiry.
              227    TRTXT      The Court inquires of prospective jurors seated in the jury box of prior jury service.
              228    TRTXT      The Court read CALCRIM 103 to the prospective jurors.
              229    TRTXT      The Court inquire of prospective jurors and asked if they can all be fair and unbiased in this case. There is no response.
              230    TRTXT      Prospective juror 137 in seat 6 addressed the court and judge inquires. Prospective juror remains seated in seat 6.
              231    TRVDE      Voir Dire examination commenced.
              232    TRAPJ      At 03:41 PM, Court admonishes prospective jurors and declares a recess.
                                Prospective jurors approached the bailiff during recess. Deputy informed the court and counsel as to prospective juror #128 not feeling well.
              233 TRTXT         Counsel stipulates to excuse prospective juror #128. Deputy S. Garcia instructed to excuse prospective juror #128 and direct him to the Jury
                                Assembly Room.
              234 TRALP2        Again in open court at 03:57 PM. Defendant present with counsel. People duly represented. Jury is not present.
                                Court was informed by the Prosecutor that prospective juror 129 approached the Prosecutor during recess and was asked a question about
              235 TRTXT         scheduling. Defense Counsel was a witness to the conversation. Discussions held and parties agree to keep prospective juror 129 in seat 14.
                                Reasons stated on record.
              236    TRREC      At 03:59 PM, court declared a recess.
              237    TRALP      Again in open court at 04:00 PM, Defendant present with counsel. People duly represented. Prospective jurors present in their proper places.
              238    TRTXT      Court admonished jurors as to speaking to counsel during recess.
              239    TRVDE      Voir Dire examination resumed.
              240    TRTXT      Jurors are reseated in the jury box.
              241    TRVDE      Voir Dire examination resumed.
              242    TRTXT      Clerk calls one (1) prospective jurors to the jury box.
              243    TRVDE      Voir Dire examination resumed.
              244    TRCBR      At 04:37 PM, Court and Counsel confer at side bar with court monitor present.
                                Oral Motion by Defense to challenge for cause prospective juror number 133 in seat 2 was heard. People object. Argument heard and
              245 TRTXT
                                considered. Motion denied.
              246 TRTXT         Oral Motion by Defense to challenge for cause prospective juror number 138 in seat 2 was heard. Motion granted.
                                Defense counsel requests prospective juror number 131 in seat 3 to be excused for cause. The court finds no basis to excuse for cause, juror
              247 TRTXT
                                will remain. Motion Denied as to Juror number 131.
                                People requests prospective juror number 105 in seat 14 to be excused for cause. The court finds no basis to excuse for cause, juror will
              248 TRTXT
                                remain. Motion Denied as to Juror number 105.
                                Defense counsel requests prospective juror number 137 in seat 6 to be excused for cause. The court finds no basis to excuse for cause, juror
              249 TRTXT
                                will remain. Motion Denied as to Juror number 137.
                                People requests prospective juror number 129 in seat 13 to be excused for cause. The court finds no basis to excuse for cause, juror will
              250 TRTXT
                                remain. Motion Denied as to Juror number 129.
              251    TRALP      Again in open court at 04:49 PM, Defendant present with counsel. People duly represented. Prospective jurors present in their proper places.
              252    OFBAL      Bailiff: N. Cafcules
              253    TRJXC      Court excused 1 prospective juror(s) for cause.
              254    TRTXT      Clerk calls one (1) prospective jurors to the jury box.
              255    TRVDE      Voir Dire examination resumed.
                                The Court addressed prospective juror number 123 in audience and inquires of her concern and hardship. (Caregiver). The court excuses
              256 TRTXT
                                prospective juror number 123 for hardship.
                                At 05:00 PM, Court admonished prospective jurors and declared a recess to reconvene on 03/23/2023 at 09:00 AM in Department C53 for
              257 TRRTD
                                Jury Trial.
              258 TROPJ         Proceedings held outside the presence and hearing of the jurors.
               259   TRTXT  Discussions held as to prospective juror number 109 in seat 18.
               260   TRREC  At 05:12 PM, court declared a recess.
    03/23/2023 1     HHELD  Hearing held on 03/23/2023 at 09:00:00 AM in Department C53 for Jury Trial.
               2     OFJUD  Judicial Officer: H. Shaina Colover, Judge
               3     OFJA   Clerk: M. Ruiz
               4     OFBAL  Bailiff: S. Garcia
               5     TRTXT  Prior to jurors being present in the courtroom, roll call took place in the public hallway by Deputy S. Garcia.
                            Proceedings recorded electronically. The recording equipment is functioning normally, and all of the proceedings in open court between
              6      TRPRT
                            designated times of day will be recorded, except for such matters as were expressly directed to be "off the record" or as otherwise specified.
              7      TRIOC  In open court at 09:16 AM
              8      APDDA  People represented by MingMing Zhan, Deputy District Attorney, present.
              9      APDWAL Defendant present in Court with counsel James Follett, Alternate Defender.
              10     FITXT  People's Proposed Jury Instructions. filed.
              11     FIMTN  Defense Motion to Dismiss (PC1385) filed.
              12     TRREC  At 09:21 AM, court declared a recess.
              13     TRTXT  Off the record discussions held.
              14     TRALP2 Again in open court at 09:22 AM. Defendant present with counsel. People duly represented. Jury is not present.
              15     TRTXT  Court memorializes previous off the record discussions held this morning.
              16     TRTXT  Discussions held by both parties as to People v. Gonzalez, 12 Cal. 4th 804 (1996).
              17     TRREC  At 09:29 AM, court declared a recess.
              18     TRTXT  At 9:30 AM prospective jurors enter courtroom.

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              19TRIOC  In open court at 09:31 AM #:1898
              20   APDDA    People represented by MingMing Zhan, Deputy District Attorney, present.
              21   APDWAL   Defendant present in Court with counsel James Follett, Alternate Defender.
              22   TRPJP    Prospective jurors are present and in their proper places.
              23   TRJXC    Court excused 1 prospective juror(s) for cause.
              24   TRTXT    Clerk calls one (1) prospective jurors to the jury box.
              25   TRVDE    Voir Dire examination resumed.
              26   TRTXT    Voir Dire of prospective jurors conducted by the Defense.
              27   TRTXT    The Court read CALCRIM 224 to the prospective jurors.
              28   TRTXT    Voir Dire of prospective jurors conducted by the People.
              29   TRAPJ    At 10:27 AM, Court admonishes prospective jurors and declares a recess.
              30   TRALP2   Again in open court at 10:40 AM. Defendant present with counsel. People duly represented. Jury is not present.
              31   TRTXT    Motion by Defense to excuse prospective juror number 133 seated in seat 2 for cause. Argument heard and considered. Motion granted.
              32   TRTXT    Motion by the People to excuse prospective juror number 131 seated in seat 3 for cause. Argument heard and considered. Motion granted.
              33   TRTXT    Motion by Defense to excuse prospective juror number 107 seated in seat 4 for cause. Argument heard and considered. Motion granted.
              34   TRTXT    Motion by the People to excuse prospective juror number 137 seated in seat 6 for cause. Defense does not object. Motion granted.
                            Defense counsel requests prospective juror number 119 in seat 1 to be excused for cause. The court finds no basis to excuse for cause, juror
              35   TRTXT
                            will remain. Motion Denied as to Juror number 119 in seat 1.
              36   TRTXT    Motion by the People to excuse prospective juror number 103 seated in seat 8 for cause. Argument heard and considered. Motion granted.
                            Defense counsel requests prospective juror number 110 in seat 10 to be excused for cause. The court finds no basis to excuse for cause,
              37   TRTXT
                            juror will remain. Motion Denied as to Juror number 110 in seat 10.
              38   TRTXT    Both parties stipulate to excuse prospective juror number 129 in seat 3 for cause. Motion granted.
              39   TRTXT    Motion by Defense to excuse prospective juror number 105 seated in seat 14 for cause. Argument heard and considered. Motion granted.
              40   TRTXT    Both parties stipulate to excuse prospective juror number 127 in seat 17 for cause. Motion granted.
                            Defense counsel requests prospective juror number 100 in seat 15 to be excused for cause. The court finds no basis to excuse for cause,
              41   TRTXT
                            juror will remain. Motion Denied as to Juror number 100 in seat 15.
              42   TRJYA    People accepted the jury as presently constituted.
              43   TRPEC    Peremptory challenge exercised by Defense prospective juror number 119 in seat 1.
                            Objection by People, outside the presence of the jury to peremptory challenge of prospective juror # 119 pursuant to Code of Civil Procedure
              44   TRPECO
                            231.7.
              45   MOTION   Motion argued.
                            Court overrules objection to the improper exercise of a peremptory challenge by People pursuant to Code of Civil Procedure 231.7 and for the
              46   FDPECO
                            following reason(s): reasons as stated on the record
              47   TRJYA    People accepted the jury as presently constituted.
              48   TRPEC    Peremptory challenge exercised by Defense prospective juror number 116 in seat 7.
              49   TRJYA    People accepted the jury as presently constituted.
              51   TRPEC    Peremptory challenge exercised by Defense prospective juror number 100 in seat 15.
                            Objection by People, outside the presence of the jury to peremptory challenge of prospective juror # 100 pursuant to Code of Civil Procedure
              52   TRPECO
                            231.7.
                            Court overrules objection to the improper exercise of a peremptory challenge by People pursuant to Code of Civil Procedure 231.7 and for the
              53   FDPECO
                            following reason(s): reasons as stated on the record.
              54   TRJYA    People accepted the jury as presently constituted.
              55   TRPEC    Peremptory challenge exercised by Defense prospective juror number 112 in seat 18.
                            Objection by People, outside the presence of the jury to peremptory challenge of prospective juror # 112 pursuant to Code of Civil Procedure
              56   TRPECO
                            231.7.
                            Court overrules objection to the improper exercise of a peremptory challenge by People pursuant to Code of Civil Procedure 231.7 and for the
              57   FDPECO
                            following reason(s): reasons as stated on the record.
              58   TRALP    Again in open court at 11:40 AM, Defendant present with counsel. People duly represented. Prospective jurors present in their proper places.
              59   TRTXT    Court thanked and excused prospective jurors.
              60   TRTXT    The Court excuses the following prospective jurors 119, 116, 100 and 112 - Peremptory challenges excercised by the Defense.
              61   TRJXC    Court excused 8 prospective juror(s) for cause.
              62   TRTXT    Jurors are reseated in the jury box.
              63   TRTXT    Clerk calls twelve (12) prospective jurors to the jury box.
              64   TRVDE    Voir Dire examination resumed.
              65   TRAPJ    At 12:00 PM, Court admonishes prospective jurors and declares a recess.
              66   TROPJ    Proceedings held outside the presence and hearing of the jurors.
              67   TRTXT    Scheduling discussions held.
              69   TRALP    Again in open court at 01:52 PM, Defendant present with counsel. People duly represented. Prospective jurors present in their proper places.
              70   TRVDE    Voir Dire examination resumed.
              71   TRJAP    Court read First Amended Complaint to the prospective jurors and advised them of the defendant's plea of not guilty thereto.
              72   TRJXC    Court excused 1 prospective juror(s) for cause.
              73   TRTXT    Jurors are reseated in the jury box.
              74   TRTXT    Clerk calls one (1) prospective juror to the jury box.
              75   TRVDE    Voir Dire examination resumed.
              76   TRTXT    Voir Dire of prospective jurors conducted by the Defense.
              77   TRTXT    Voir Dire of prospective jurors conducted by the People.
              78   TRAPJ    At 03:04 PM, Court admonishes prospective jurors and declares a recess.

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              79 TROPJ                                                  #:1899
                        Proceedings held outside the presence and hearing of the jurors.
              80     TRTXT  Both parties stipulate to excuse prospective juror number 104 in seat 14 for cause. Motion granted
              81     TRTXT  Motion by Defense to excuse prospective juror number 114 seated in seat 6 for cause. Motion granted.
              82     TRTXT  Both parties stipulate to excuse prospective juror number 110 in seat 10 for cause. Motion granted.
              83     TRJYA  People accepted the jury as presently constituted.
              84     TRPEC  Peremptory challenge exercised by Defense prospective juror number 134 in seat 8.

              85     TRPECO Objection by People, outside the presence of the jury to peremptory challenge of prospective juror # 134 pursuant to Code of Civil Procedure
                            231.7.
              86     TRTXT  Both parties stipulate to excuse prospective juror number 121 in seat 15 for cause. Motion granted.
              87     TRJYA  Both sides accepted the jury as presently constituted.
              88     TRREC  At 03:35 PM, court declared a recess.
              89     TRALP2 Again in open court at 03:46 PM. Defendant present with counsel. People duly represented. Jury is not present.
              90     CORAC Court read and considered applicable law.

              91     FDPECO Court overrules objection to the improper exercise of a peremptory challenge by People pursuant to Code of Civil Procedure 231.7 and for the
                            following reason(s): reasons as stated on the record.
              92     TRREC  At 04:11 PM, court declared a recess.
              93     TRALP  Again in open court at 04:12 PM, Defendant present with counsel. People duly represented. Prospective jurors present in their proper places.
              94     TRJXC  Court excused 4 prospective juror(s) for cause.
              95     TRTXT  The Court excuses prospective jurors 134 in seat 8 - Peremptory challenges excercised by the Defense.
              96     TRTXT  Jurors are reseated in the jury box.
                            The Court inquires of the prospective jurors in the jury box if there are any last-minute concerns before they are sworn in as jurors to hear this
              97     TRTXT
                            case. No concerns are expressed.
              98     TRTXT  Clerk calls four (4) prospective juror to the jury box.
              99     TRVDA  Voir Dire examination for alternates commences.
              100 TRCBR         At 04:29 PM, Court and Counsel confer at side bar with court monitor present.
                                Counsel stipulate to the following prospective jurors as the 2 alternate jurors as follows: Prospective Juror number 118 as Alternate Juror
              101 TRTXT
                                number one (1). Prospective Juror number 135 as Alternate Juror number two (2).
              102    TRALP      Again in open court at 04:32 PM, Defendant present with counsel. People duly represented. Prospective jurors present in their proper places.
              103    TRTXT      Court inquires of alternate jurors before being sworn in as jurors in this case.
              104    TRJGB      Court thanked and excused remaining prospective jurors to Jury Assembly Room.
              105    TRIOC      In open court at 04:33 PM
                                12 Jurors and 2 Alternates were sworn by the clerk to hear this matter. Disposition of panel jurors is reported on the random list and included
              106 TRJCS
                                by reference.
                                At 04:36 PM, Court admonished sworn jurors and declared a recess to reconvene on 03/24/2023 at 10:00 AM in Department C53 for Jury
              107 TRRTD
                                Trial.
               108   TROPJ      Proceedings held outside the presence and hearing of the jurors.
               109   TRTXT      Discussions held as to pending 402 Motions in Limine.
               110   TRTXT      People object to Motion to Dismiss filed earlier this date.
               111   MOTION     Motion argued.
               112   TRTXT      Defense states he didn't intended to file motion but rather wanted to file more of a brief rather than the motion to dismiss.
               113   DFOTR      Defendant ordered to appear.
               114   DSOCN      Defendant's release on own recognizance continued.
               115   TXKPW      Keep with companion cases(s) 19CM06724.
               116   TRREC      At 04:54 PM, court declared a recess.
    03/24/2023 1     HHELD      Hearing held on 03/24/2023 at 10:00:00 AM in Department C53 for Jury Trial.
               2     OFJUD      Judicial Officer: H. Shaina Colover, Judge
               3     OFJA       Clerk: M. Ruiz
               4     OFBAL      Bailiff: S. Garcia
                            Proceedings recorded electronically. The recording equipment is functioning normally, and all of the proceedings in open court between
              5      TRPRT
                            designated times of day will be recorded, except for such matters as were expressly directed to be "off the record" or as otherwise specified.
              6      TRIOC  In open court at 09:51 AM
              7      APDDA  People represented by MingMing Zhan, Deputy District Attorney, present.
              8      APDWAL Defendant present in Court with counsel James Follett, Alternate Defender.
              9      CORAC Court read and considered Transcript for the intial Temporary Restraining Order dated 10/19/18.
              10     TRTXT  Court and counsel resume 402 E.C. motions pending ruling as follows:
              11     CLTXT  Peoples Motion in Limine Number Eleven (11).
              12     MOTBY  Motion by People to admit prior statements of defendant when offered against the defendant
              13     MOTION Motion argued.
              14     MOTION Motion granted.
              15     TRTXT  As stated on the record.
              16     CLTXT  Peoples Motion in Limine Number Twelve (12).
              17     MOTBY  Motion by People to exclude prior statements of the defendant when offered by the defense
              18     TRTXT  Motion granted in accordance with the law. Reasons as stated on the record.
              19     CLTXT  Peoples Motion in Limine Number Thirteen (13).
              20     MOTBY  Motion by People to admit (1) cerfified restraining order issued in 18V002374 and (2) minute order from July 29, 21 through judicial notice
              21     MOTION Motion argued.
              22     TRTXT  Court grants motion as modified on the record. Reasons as stated on the record.
                                                                                                                                                          011
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               Case 8:22-cv-01640-MEMF-KES Document 45 Filed 10/15/23 Page 26 of 85 Page ID
              23 CLTXT  Peoples Motion in Limine Number Fourteen (14). #:1900
              24   MOTBY  Motion by People to introduce other acts of domestic violance evidence pursuant to evidence code section 1109
              25   MOTION Motion argued.
              27   TRTXT  Court grants motion as modified on the record. Reasons as stated on the record.
              28   COJNT  Court takes judicial notice of MInute Order 7/29/21 as to counts 2 and 3.
              29   TRTXT  Court now hears defense pending 402 E.C. motions.
              30   CLTXT  Defense Motion in Limine Number Eight (8).
                          Motion by Defense to require the Deptuy District Attorney to disclose oral statements made to the prosecutor's office before or during trial by
              31   MOTBY
                          witnesses, including law enforcement witnesses.
              32   MOTION Motion argued.
              33   TRTXT  Court grants motion and will rule in accordance with the law- reasons as stated on the record.
              34   CLTXT  Defense Motion in Limine Number Nine (9).
              35   MOTBY  Motion by Defense requests that all objections be federalized
              36   TRTXT  Court will rule in accordance with the law- reasons as stated on the record.
              37   CLTXT  Defense Motion in Limine Number Ten (10).
              38   TRTXT  Court will rule in accordance with People's Eleven (11)- reasons as stated on the record.
              39   CLTXT  Defense Motion in Limine Number Eleven (11).
              40   TRTXT  Court will rule in accordance with People's Twelve (12)- reasons as stated on the record.
              41   CLTXT  Defense Motion in Limine Number Twelve (12).
                          Motion by Defense moves to preclude any use by the prosecution of Ms. Lou's 19CM conviction to establish the element of control over the
              42   MOTBY
                          alleged postings
              43   MOTION Motion argued.
              44   TRTXT  Court grants motion as modified on the record.
              45   CLTXT  Defense Motion in Limine Number Thirteen (13).
              46   MOTBY  Motion by Defense to preclude any acts of prior conduct pursuant to evidence code section 1101(b).
              47   MOTION Motion denied.
              48   CLTXT  Defense Motion in Limine Number Fourteen (14).
              49   MOTBY  Motion by Defense objects to any reference to Ms. Lou's past criminal history, including any open cases
              50   TRTXT  Court will rule in accordance with People's Fourteen (14)- reasons as stated on the record.
              51   CLTXT  Defense Motion in Limine Number Twenty Four (24).
                          Oral motion by Defense request that the court not allow the mention of conversation between previous defense counsel and detective
              52   MOTBY
                          Ruvalcaba as to the defendant's 5th Amendment Right.
              53   MOTION Motion granted.
              54   TRREC  At 11:30 AM, court declared a recess.
              55   TRTXT  Prior to jurors being present in the courtroom, roll call took place in the public hallway by Deputy S. Garcia.
              56   TRIOC  In open court at 11:38 AM
              57   APDDA  People represented by MingMing Zhan, Deputy District Attorney, present.
              58   APDWAL Defendant present in Court with counsel James Follett, Alternate Defender.
              59   TRPJP  Sworn jurors are present and in their proper places.
              60   TRTXT  The Court reads Pre-Trial Cal Crim 100 series to the Jury.
              61   TRTXT  The Court reads Cal Crim Jury Instruction regarding Presumption of Innocence and the People's Burden of Proof to the prospective jurors.
              62   TRTXT  The Court advises the jurors as to the process of opening statements.
              63   TROSB  Opening statement by People given.
              64   TROSB  Opening statement by Defense given.
              65   TRTXT      Court read Cal Crim 124- Separation Admonition to the sworn jury.
              66   TRREC      At 12:00 PM, court admonished jurors and declared a recess.
              67   TRALP      Again in open court at 01:45 PM, Defendant present with counsel. People duly represented. Sworn jurors present in their proper places.
              68   TRWST      Witness, Brenda Ruvalcaba, Investigator with Santa Ana Police Department, sworn and testified.
              69   TRCBR      At 01:54 PM, Court and Counsel confer at side bar with court monitor present.
              70   TRTXT      Discussions held as to direct examination of witness and the word "victim" being used on direct. As stated on the record.
              71   TRWRT      Brenda Ruvalcaba, previously sworn, resumes testimony.
              72   STRHRG     Start of Exhibit List: for exhibit management purposes.
                              People's Exhibit # 1 ( Document(s) )- DV-130 Restraining Order After Hearing. Case Number 18V002374- filed 10/1/21 marked for
              73   TREXI
                              identification.
              74   MOTBY      Oral motion by People to admit People's Exhibit 1 into evidence
              75   MOTION     Motion granted.
              76   TREXE      People's Exhibit # 1 received into evidence.
                              People's Exhibit # 2 ( Document(s) )- Multiple page document dated 3/21/23 tiltled gorgeouspainting with various color copy photographs of a
              77   TREXI
                              male, and copies of text messages marked for identification.
              78   TREXS      Court orders People's Exhibit # 2 sealed.
              79   TRCBR      At 02:18 PM, Court and Counsel confer at side bar with court monitor present.
              80   TRALP      Again in open court at 02:22 PM, Defendant present with counsel. People duly represented. Sworn jurors present in their proper places.
              81   TRWRT      Brenda Ruvalcaba, previously sworn, resumes testimony.
                              People's Exhibit # 2A ( Document(s) )- Multiple page document dated 3/21/23 tiltled gorgeouspainting with various color copy photographs of
              82   TREXI
                              a male, and copies of text messages with redacted portions marked for identification.
              83   MOTBY      Oral motion by People to admit People's Exhibit 2A into evidence

                                                                                                                                                      012
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              84 MOTION Motion granted.         #:1901
              85     TREXE      People's Exhibit # 2A received into evidence.
              86     TREXI      People's Exhibit # 3 ( Document(s) )- YouTube website B Ph @pph7278 No videos Tomas Czodor marked for identification.
              87     TREXS      Court orders People's Exhibit # 3 sealed.
              88     TREXI      People's Exhibit # 3A ( Document(s) )- YouTube website B Ph @pph7278 No videos Tomas Czodor- redacted copy marked for identification.
              89     MOTBY      Oral motion by People to admit People's Exhibit 3A into evidence
              90     MOTION     Motion granted.
              91     TREXE      People's Exhibit # 3A received into evidence.
              92     TRTXT      Cross examination conducted on behalf of the Defense..
              93     MOTBY      Oral motion by People to admit People's Exhibit 3A into evidence.
              94     MOTION     Motion granted.
              95     TRCBR      At 02:41 PM, Court and Counsel confer at side bar with court monitor present.
              96     TRTXT      Discussions held as to Defense inquiry of a YOUTUBE link.
              97     TRALP      Again in open court at 02:43 PM, Defendant present with counsel. People duly represented. Sworn jurors present in their proper places.
              98     TRTXT      Cross examination resumes.
              99     TRTXT      Re-direct conducted on behalf of the People.
              100    TRREC      At 02:58 PM, court admonished jurors and declared a recess.
              101    TROPJ      Proceedings held outside the presence and hearing of the jurors.
              102    TRREC      At 03:08 PM, court declared a recess.
                                Juror number 108 in seat 11 approached the bailiff during recess. Deputy iniforms the court and counsel that he indicated the court and
              103 TRTXT         counsel were speaking too fast and could like to know if it's okay to ask questions or to repeat if they can't hear or understand the
                                proceedings.
              104    TRALP      Again in open court at 03:21 PM, Defendant present with counsel. People duly represented. Sworn jurors present in their proper places.
              105    TRTXT      Court addressed the jury and advised them to raise their hand if they need anything repeated.
              106    TRTXT      Re-direct resumes on behalf of the People.
              107    TRTXT      Re-cross on behalf of the Defense.
              108    TRCBR      At 03:28 PM, Court and Counsel confer at side bar with court monitor present.
              109    TRTXT      Discussions held as to statements made by the witness on re-cross.
              110    TRALP      Again in open court at 03:31 PM, Defendant present with counsel. People duly represented. Sworn jurors present in their proper places.
              111    TRTXT      Re-cross on behalf of the defense resumes.
              112    TRWER      Brenda Ruvalcaba excused subject to recall.
                                At 03:45 PM, Court admonished sworn jurors and declared a recess to reconvene on 03/27/2023 at 09:15 AM in Department C53 for Jury
              113 TRRTD
                                Trial.
               114   TROPJ      Proceedings held outside the presence and hearing of the jurors.
               115   TRTXT      Discussions held as to jury instructions.
               116   DFOTR      Defendant ordered to return.
               117   DSOCN      Defendant's release on own recognizance continued.
               118   TRREC      At 03:52 PM, court declared a recess.
               119   TXKPW      Keep with companion cases(s) 19CM06724.
    03/27/2023 1     HHELD      Hearing held on 03/27/2023 at 09:15:00 AM in Department C53 for Jury Trial.
               2     OFJUD      Judicial Officer: H. Shaina Colover, Judge
               3     OFJA       Clerk: M. Ruiz
               4     OFBAL      Bailiff: S. Garcia
               5     TRTXT      Prior to jurors being present in the courtroom, roll call took place in the public hallway by Deputy S. Garcia.
                            Proceedings recorded electronically. The recording equipment is functioning normally, and all of the proceedings in open court between
              6      TRPRT
                            designated times of day will be recorded, except for such matters as were expressly directed to be "off the record" or as otherwise specified.
              7      TRIOC  In open court at 09:38 AM
              8      APDDA  People represented by MingMing Zhan, Deputy District Attorney, present.
              9      APDWAL Defendant present in Court with counsel James Follett, Alternate Defender.
              10     TROPJ  Proceedings held outside the presence and hearing of the jurors.
              11     FITXT  Proposed Jury Instruction submitted by the Defense filed.
              12     FITXT  Proposed Jury Instructions filed.
              13     TRRJI  Court and Counsel review jury instructions with court monitor present.
              14     TRREC  At 09:49 AM, court declared a recess.
              15     TRTXT  Sworn jurors enter courtroom at 9:49 AM.
              16     TRIOC  In open court at 09:50 AM
              17     APDDA  People represented by MingMing Zhan, Deputy District Attorney, present.
              18     APDWAL Defendant present in Court with counsel James Follett, Alternate Defender.
              19     TRPJP  Sworn jurors are present and in their proper places.
              20     TRWST  Witness, Tomas Czodor, victim, sworn and testified.
              21     TRWID  Witness identified the defendant.
              22     TREXI  People's Exhibit # 4 ( Document(s) )- DV-130 Restraining Order 18V002374 marked for identification.
              23     MOTBY  Oral motion by People to admit People's 4 into evidence.
              24     MOTION Motion granted.
              25     TREXE  People's Exhibit # 4 received into evidence.
              26     COJNT  Court takes judicial notice of case 19CM06724.
                                                                                                                                                       013
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              27 COJNT  Court takes judicial notice of prior convictions. #:1902
              28    TRCBR    At 10:29 AM, Court and Counsel confer at side bar with court monitor present.
              29    TRTXT    Discussions held as to prior conviction/charges and requets court admonish the sworn jurors.
              30    TRALP    Again in open court at 10:32 AM, Defendant present with counsel. People duly represented. Sworn jurors present in their proper places.
              31    TRWRT    Tomas Czodor, previously sworn, resumes testimony.
              32    TRREC    At 10:47 AM, court admonished jurors and declared a recess.
              33    TRALP    Again in open court at 11:04 AM, Defendant present with counsel. People duly represented. Sworn jurors present in their proper places.
              34    TRTXT    Cross examination conducted on behalf of the Defense.
              35    TRCBR    At 11:11 AM, Court and Counsel confer at side bar with court monitor present.
              36    TRTXT    Discussions held regarding legal definition/witness opinion.
              37    TRALP    Again in open court at 11:19 AM, Defendant present with counsel. People duly represented. Sworn jurors present in their proper places.
              38    TRWRT    Tomas Czodor, previously sworn, resumes testimony.
              39    TRCBR    At 11:20 AM, Court and Counsel confer at side bar with court monitor present.
              40    TRTXT    Discussion held as to defendant's marital status/352 issue- Court will allow limited inquiry.
              41    TRALP    Again in open court at 11:25 AM, Defendant present with counsel. People duly represented. Sworn jurors present in their proper places.
              42    TRWRT    Tomas Czodor, previously sworn, resumes testimony.
              43    TRTXT    Re-direct conducted by the People.
              44    TRTXT    Re-cross by the Defense.
              45    TRWER    Tomas Czodor excused subject to recall.
              46    TRCBR    At 11:53 AM, Court and Counsel confer at side bar with court monitor present.
              47    TRTXT    Discussions held as to scheduling.
              48    TRALP    Again in open court at 11:54 AM, Defendant present with counsel. People duly represented. Sworn jurors present in their proper places.
              49    TRPRS    People rest(s)
              50    TRREC    At 11:56 AM, court admonished jurors and declared a recess.
              51    TROPJ    Proceedings held outside the presence and hearing of the jurors.
              52    TRTXT    Scheduling discussions.
              53    CORAC    Court read and considered proposed jury instruction of Lawful Issuance of the Order.
              54    TRREC    At 12:00 PM, court declared a recess.
              55    TRTXT    Informal off the record discussions on jury instructions held.
              56    TRIOC    In open court at 01:55 PM
              57    APDDA    People represented by MingMing Zhan, Deputy District Attorney, present.
              58    APNDC    Defendant not present in Court represented by James Follett, Alternate Defender.
              59    WV977    Defendant's appearance is waived pursuant to Penal Code 977(a).
              60    TRRJI    Court and Counsel review jury instructions with court monitor present.
              61    APDWAL   Defendant present in Court with counsel James Follett, Alternate Defender.
              62    MOTBY    Oral motion by Defense pursuant to 1118. PC
              63    MOTION   Motion argued.
              64    MOTDD    Defense motion pursuant to Penal Code 1118 denied.
              65    TRTXT    Reasons as stated on the record.
              66    TRREC    At 03:21 PM, court declared a recess.
              67    TRALP2   Again in open court at 03:45 PM. Defendant present with counsel. People duly represented. Jury is not present.
              68    TRRJI    Court and Counsel review jury instructions with court monitor present.
              69    TRTXT    Court addressed defendant with regards to testifying.
              70    ADVISE   Defendant advised of the following:
              71    WVRMS    - The right to remain silent.
              72    WVRTF    - The right to testify in own defense.
              73    WVRTT    - The right not to testify, be called as a witness, or admit guilt.
              74    FIGJI    Jury Instructions Withdrawn filed.
              75    TRREC    At 03:51 PM, court declared a recess.
              76    TRALP    Again in open court at 03:53 PM, Defendant present with counsel. People duly represented. Sworn jurors present in their proper places.
              77    TRDRS    Defense rests.
              78    TRCRI    The Court read the Instructions to the Jury.
              79    FIGJI    Jury Instructions Given filed.
                             At 04:18 PM, Court admonished sworn jurors and declared a recess to reconvene on 03/28/2023 at 09:15 AM in Department C53 for Jury
              80    TRRTD
                             Trial.
               81   DFOTR    Defendant ordered to return.
               82   TRTXT    Parties agree that tomorrow both will present closing arguments and People will present rebuttal.
               83   DSOCN    Defendant's release on own recognizance continued.
               84   TXKPW    Keep with companion cases(s) 19CM06724.
    03/28/2023 1    HHELD    Hearing held on 03/28/2023 at 09:15:00 AM in Department C53 for Jury Trial.
               2    OFJUD    Judicial Officer: H. Shaina Colover, Judge
               3    OFJA     Clerk: M. Ruiz
               4    OFBAL    Bailiff: S. Garcia
               5    TRTXT    Prior to jurors being present in the courtroom, roll call took place in the public hallway by Deputy S. Garcia.
               6    TRTXT    Sworn jurors enter courtroom at 9:34 AM.

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                        Proceedings recorded electronically. The recording#:1903
                                                                           equipment is functioning normally, and all of the proceedings in open court between
              7  TRPRT
                               designated times of day will be recorded, except for such matters as were expressly directed to be "off the record" or as otherwise specified.
              8     TRIOC      In open court at 09:34 AM
              9     APDDA      People represented by MingMing Zhan, Deputy District Attorney, present.
              10    APDWAL     Defendant present in Court with counsel James Follett, Alternate Defender.
              11    TRPJP      Sworn jurors are present and in their proper places.
              12    TRCLA      Closing argument presented on behalf of the People.
              13    TRCLA      Closing argument presented on behalf of the Defense.
              14    TRRBA      Rebuttal argument presented on behalf of the People.
              15    TRTXT      Court reads CAL CRIM 3550 to sworn jury.
              16    FITXT      Clean copy of Jury Instructions Given filed.
              17    TRJRT      At 11:09 AM, the Jury retired to the jury room to deliberate in charge of Deputy S. Garcia duly sworn for that purpose.
              18    TRAOC      Court admonishes alternate juror(s) and pursuant to stipulation of counsel releases the alternate(s) on one hour call.
                               Counsel stipulates that the alternate juror(s) may go home or to work. The Court admonishes the alternate juror(s) and releases them subject
              19    TRAJR
                               to their remaining in telephone contact with the bailiff for the duration of the jury's deliberation.
              20    TRTXT      Alternate jurors need not remain in the courtroom during deliberations but will be subject to telephonic recall as needed.
                               Following submission of the case to the jury, counsel will be available by phone and will return to the courtroom within 30 minutes of being
              21    TRTXT
                               called.
              22    TRJBR      At 11:50 AM, jurors left the jury room for lunch recess.
              23    TRJRD      At 01:34 PM, jurors returned to the jury room to resume deliberations.
              24    TRTXT      Question Number One (1).
                               At 02:05 PM, the jury submitted the following written request: "We, the jury in the above entitled action request the following: -Copy of
              25    TRWRJ      transcript Mr. Czodor was requested to read from DA: Def. -List of websites Mr. Czodor alleges were created by Def. -Addt'l copies of
                               Exhibits., /s/Juror # 113, Foreperson." Counsel were notified. Request filed and incorporated herein by reference.
              26    TRIOC  In open court at 02:25 PM
              27    APDDA  People represented by MingMing Zhan, Deputy District Attorney, present.
              28    APNDC  Defendant not present in Court represented by James Follett, Alternate Defender.
              29    TRTXT  Discussions held as to Question 1 submitted by the sworn jurors.
              30    TRREC  At 02:33 PM, court declared a recess.
              31    FITXT  Original Court?s Response to Question One (1) submitted at 2:05 PM. filed.
                           At 02:36 PM the following written response was sent to the jury: -as to part 1 and 2, if if was not admitted into evidence, it does not go back to
              32    TRWRS the "jury deliberation room. (You can listen to playback of any portion of the trial testimony you would find helpful.)* -as to part 3 - the actual
                           exhibits are back in the jury deliberation room already, no additional copies will be provided. *as requested the websites, please remember,
                           you are not to look anything up online whatsoever.
              33    TRTXT  At 3:52 PM, jurors inform bailiff that the jury has reached a verdict.
                           At 3:52, District Attorney MingMing Zhan & Deputy Public Alternate Defender James Follett were notified telephonically that a verdict has been
              34    TRTXT
                           reached and to report to Department C53 forthwith.
              35    TRIOC  In open court at 04:13 PM
              36    APDDA  People represented by MingMing Zhan, Deputy District Attorney, present.
              37    APDWAL Defendant present in Court with counsel James Follett, Alternate Defender.
              38    TRTXT  All parties are ready to receive jury verdict.
              39    TRTXT  Court asks deputy to bring in the jury.
              40    TRTXT  At 4:14 PM, the Jury enters courtroom.
              41    TRPJP  Sworn jurors are present and in their proper places.
              42    TRIOC  In open court at 04:15 PM
              43    TRTXT  Court inquires who the foreperson is. Juror number 122 in seat 5 answers in the affirmative.
                           The court addresses the foreperson regarding reaching of verdicts. The foreperson states they have reached verdicts. The bailiff retrieves the
              44    TRTXT
                           verdicts and finding forms and gives them to the court.
              45    TRTXT  The court received and reviewed jury verdicts and finding forms. The clerk read the following:
                           VERDICT: We the jury in the above entitled action find the defendant NOT GUILTY as to count 1 as charged in the First Amended Complaint.
              46    FDJNC
                           Juror # 122, Foreperson. Verdict read, filed, and incorporated herein by reference.
                           To the question, "Ladies and gentlemen of the jury are these your verdict(s)?" the jury answered in the affirmative. The jury was polled by the
              47    TRJPV  clerk. To the question: "Are these your verdict(s)?" each of the jurors answered individually in the affirmative. The clerk was ordered to record
                           the verdict(s).
               48   TRTXT  Court read final jury instruction CALCRIM No. 3590 to sworn jurors on the Discharge of Jury.
               49   TRJTE  Court thanked and excused the Jury.
               50   TRJIS  Pursuant to Code of Civil Procedure 237(a)(2), all juror identifying information ordered sealed and filed.
               51   FIJIS  Packet of unfiled documents containing confidential juror information is filed and sealed pursuant to Code of Civil Procedure 237(a)(2).
               52   TRAEX  Alternate juror(s) notified by telephone and excused.
               53   TRACD  Actual days of trial: 5 days.
               54   TRTXT  Proceedings ended and all parties exit the courtroom at 4:15 PM.
               55   FITXT  Redacted Written Request from Jury filed.
               56   FITXT  Redacted verdict form count 1 filed.
               57   FITXT  Unsigned verdict form filed.
               58   ENDHRG End of Exhibit List: for exhibit management purposes.
               59   DOJABS DOJ Initial Abstract sent. - Validated by DOJ: Yes
    03/29/2023 1    CSCLS  Case closed.
    04/10/2023 1    FITXT  Defendant's Request for Record filed.

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    04/11/2023 1 CSCLS  Case closed.            #:1904
    04/26/2023 1   FIDOC    Exhibit List of People filed.
    04/27/2023 1   CSCLS    Case closed.
    05/17/2023 1   TXRNF    Second Request and Order Produce Record received, not filed.
    05/18/2023 1   CSCLS    Case closed.
                            Electronic notice has been received from the Department of Justice that relief has been GRANTED pursuant to Penal Code 851.93.
    05/19/2023 1   DFS851   Information regarding the granting of relief shall not be disclosed except to the person to whom relief was granted, or a Criminal Justice
                            Agency as defined in Penal Code section 851.92. Case is sealed.
    05/20/2023 1   CSCLS    Case closed.
    06/22/2023 1   TXRFR    Case referred to C56 for review.
                            Second Request and Order Produce Record referred to chambers after PC 851.93 Sealing completed as this filing was originally received
              2    TEXT
                            prior to granting of PC 851.93 sealing.
    06/23/2023 1   CSCLS    Case closed.
    07/24/2023 1   HHELD    Hearing held on 07/24/2023 at 09:00:00 AM in Department C56 for Chambers Work.
               2   OFJUD    Judicial Officer: Cynthia M Herrera, Judge
               3   OFJA     Clerk: M. Diaz
               4   APNAP    No appearance by parties.
               5   CORAC    Court read and considered Second Request and Order Produce Record.
               6   TEXT     Court rules as follows:
               7   TEXT     Defendant's motion for transcript to be provided at no cost to Defendant is DENIED.
    07/25/2023 1   CSCLS    Case closed.
               2   CPGTO    Copy of Minute Order mailed to Defendant.
    07/26/2023 1   CSCLS    Case closed.




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                                 #:1905




     SUPERIOR COURT OF CALIFORNIA                            ELECTRONICALLY FILED
     COUNTY OF ORANGE, CENTRAL JUSTICE CENTER              SUPERIOR COURT OF CALIFORNIA
                                                                COUNTY OF ORANGE

                                                                     12/30/2022
                                                                     10:17 AM
                                                          DAVID H. YAMASAKI, Clerk of the Court
                                                                    23CM00067

     _______________________________________
     THE PEOPLE OF THE STATE OF CALIFORNIA, )            COMPLAINT
                                             )           BWC AGENCY
                                 Plaintiff, )
                                             )
                                             )
                    vs.                      )           No.
                                             )           SAPD 22-09260
     XINGFEI LUO                             )           DOMESTIC VIOLENCE
       F                                     )
       AKA XINGFEI LOU                       )
                                             )
                                Defendant(s))

     The Orange County District Attorney charges that in Orange
     County, California, the law was violated as follows:

     COUNT 1: On or about April 20, 2022, in violation of Section
     273.6(a) of the Penal Code (VIOLATION OF A PROTECTIVE ORDER), a
     MISDEMEANOR, XINGFEI LUO did intentionally, knowingly, and
     unlawfully    violate an order issued pursuant to Family Code
     sections 6320 and 6389 by contacting protected party through
     online means.

     I declare under penalty of perjury, on information and belief,
     that the foregoing is true and correct.

     Dated 12-30-2022 at Orange County, California.
           SA/CM 22C07939


     TODD SPITZER, DISTRICT ATTORNEY

     by: /s/ SHABNUM AZIZI
     SHABNUM AZIZI, Deputy District Attorney

     /

                             MISDEMEANOR COMPLAINT E-FILED (DA CASE# 22C07939) 02-24-2023
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     RESTITUTION CLAIMED

     [   ] None
     [   ] $________
     [ X ] To be determined

     NOTICES:

     The People request that defendant and counsel disclose, within
     15 days, all of the materials and information described in Penal
     Code section 1054.3, and continue to provide any later-acquired
     materials and information subject to disclosure, and without
     further request or order.

     The People intend to proceed pursuant to Evidence Code sections
     1101(b), 1107, 1109, and 1370.

     Pursuant to Welfare & Institutions Code §827 and California Rule
     of Court 5.552, notice is hereby given that the People will seek
     a court order to disseminate the juvenile case file of the
     defendant/minor, if any exists, to all parties in this action,
     through their respective attorneys of record, in the prosecution
     of this case.




                             MISDEMEANOR COMPLAINT E-FILED (DA CASE# 22C07939) 02-24-2023
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